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                      SUNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK
In re Terrorist Attacks on September 11, As relates to: 03 MDL 1570 (GBD)(SN)
2001
                                           Civil Docket Number:

ABTELLO, ELLIOT;
ACKER, CHRIS B. AND ACKER,
MELINDA;
ADDONIZIO, ROBERT AND                      SHORT FORM COMPLAINT AND
ADDONIZIO, DIANE;                          DEMAND FOR TRIAL BY JURY
ALEXANDER, JUNIOR;
ALSTON, MARY;
ALVARADO, ZORAIDA;
AMATO, MARY;
AMATO, THOMAS;
ANASTASIO, THOMAS;                         ECF CASE
ANDERSON, ROBERT L. AND PLANT,
ISAAC;
ARIAS, EDUARDO AND ARIAS,
LOUDRES;
ARNDT, GARY AND ARNDT, SUZANNE;
ARNTSEN, HANS;
BADAWY, JOYCE AND BADAWY,
RAOUF;
BADILLO, KELLY AND NEGRON-
BADILLO, DEBRA;
BAEZ, SYLVIA;
BALLARD, ROBERT AND BALLARD,
DOREEN ANN;
BARRERA, ANTHONY AND BARRERA,
LOIS;
BARROW, NORA;
BARTUCCELLI, ANDREW AND
BARTUCCELLI, THERESA;
BATES, REGINALD L. AND BATES,
ROSALIND;
BECKLUND, AVA;
BECKWITH, MARIBEL AND
BECKWITH, JAMES;
BEIDEMAN, BRIAN;
BENAVIDES, CARMEN AND KORNER,
CHRIS;
BENVENUTO, LUCILLE;
BERG, ROBERT J., JR.;
BERNARD, FRANCIS J. AND BERNARD,
BRENDA;
BERTORELLI, RICHARD AND
MOLHAUL, JOANNE;

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BEY, MALIK;
BEY, MONIFA;
BIDETTI, MARIE;
BIGOT, EDWOOD;
BISCUTI, ANIELLO F. AND BISCUTI,
MARIA;
BLUM, MICHAEL AND MAHYADIN-
BLUM, NARDJANI;
BOLLING, GREGORY;
BOMBACE, JOHN;
BOOTHE, LAWRENCE AND BOOTHE,
DEBRA;
BOROWSKY, WILLIAM;
BOTTORFF, RICHARD;
BOURGEOIS, RONALD K.;
BOUTIN, PATRICK;
BOWERS, RONALD;
BRADSHAW, THOMAS;
BREEDLOVE, MARVIN AND
BREEDLOVE, TESSALONIKA;
BRILL, FRANCINE S., AS
ADMINISTRATOR OF THE ESTATE OF
DOUGLAS S. BRILL, DECEASED, AND
INDIVIDUALLY;
BROOKE, KENNETH AND BROOKE,
ROSEANN;
BROOKS-FONSECA, TISHENA AND
FONSECA, HAROLD;
BROWN, ESTELLE F.;
BROWN, EVERETTE;
BROWN, PAUL AND BROWN,
BARBARA;
BROWN, TYRONE;
BRUCE, RICHARD AND BRUCE, ALICE
M.;
BRYANT, MELVIN;
BRYANT, CASSIUS;
BUNCOM, LINDA K.;
BURGESS, MICHELLE;
BURGOS, RICHARD, AND BURGOS,
MIRAM;
BURNS, SANDRA;
BURRIESCI, NICHOLAS AND
BURRIESCI, ELANA;
BUTLER, BRENDA;
BUTTERFIELD, ANNA;
BUTTS, DENISE;
BWALYA, SHARON AND BWALYA,
DENNIES;
CABALLERO, LESLIE AND
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CABALLERO, AUSTIN;
CABASSA, DANETTE AND CABASSA,
DAVID;
CALICCHIA, GLORIA;
CALLAN, EDWARD S. AND CALLAN,
DOREEN MARIE;
CAMILO, WILTON AND CAMILO,
XIOMARA;
CAMMARATA, JOSEPH L. AND
CAMMARATA, PATRICIA ANN;
CAMPBELL, CECILIA AND LEON,
CARLOS;
CAMPBELL-WYSE, ALTHEA;
CAMPO, PAUL AND CAMPO,
ELIZABETH;
CANALES, EDWIN AND CANALES,
JOHANNA;
CAPOBIANCO, MICHAEL A.;
CARDONA, ROBERT;
CARLSTROM, TOM;
CAROLINA, LISA;
CARRASQUILLO, ADAM;
CARROLL, JOHN;
CARSON, DENNIS J. AND HOY, ANNE;
CARTER, BRIAN F.;
CARTER, SABRINA, AS EXECUTOR OF
THE ESTATE OF DERRICK CARTER,
DECEASED, AND INDIVIDUALLY;
CARTER, WAYNE AND CARTER,
TIMIKA;
CARUSI, VICTOR R.;
CARUSO, THOMAS AND CARUSO,
JELENE;
CARVER, KATHERINE;
CASALE, MICHAEL;
CASELLA, JACK;
CASTANON, MILDRED;
CASTELLANO, CHRISTINE;
CASTELLANO, PETER AND
CASTELLANO, ELAINE;
CASTELLANOS, CARLOS AND
CASTELLANOS, ROSEMARIE;
CASTIELLO, DARREN M. AND
CASTIELLO, CAMILLE;
CERINO, GLEN;
CHATMAN, ZEDORIA AND CHATMAN,
RONALD;
CHERNOFF, STEVEN;
CHILLARI, JOSEPH AND CHILLARI,
DONNA;
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CHUDNOVSKI, LEONARD D.;
CIACCIARELLI, JOANNE;
CICCARONE, LISA G. AND
CICCARONE, NICHOLAS;
CIESLA, ALAN AND CIESLA, SUZZANE
MARIE;
COAKLEY, WILSON;
COBIN, JONATHAN T. AND COBIN,
ALLYSON;
COGBURN, VICTOR;
COGER, TYRELL;
COHEN, JASON;
COLEY, GLORIA AND COLEY,
RICHARD;
COLLAZO, VICTOR;
COLLIGAN, GERALD AND COLLIGAN,
BETH;
COLON, ANTHONY AND COLON,
MARY;
COLON, JOHN;
COLON, DENISE;
COLON, RICHARD;
CONGRO, CONCETTA AND CONGRO,
VINCENT;
CONLON, BRIAN AND CONLON, JANE;
CONTINO, ANTHONY AND CONTINO,
SANDRA A.;
COOPER-HENRY, ESTHER;
CORDERO, ROLAND AND CORDERO,
DAYHANA;
CORDES, ARTHUR AND CORDES,
ELAINE;
CORREA, PEDRO;
COSTELLO, JOSEPH AND COSTELLO,
ROSEMARY;
CRAPANZANO, GREGORY;
CREDLE-BARRETT, CAROL AND
BARRETT, HENRY;
CREIGHTON-KIRK, DANIEL J. AND
MULLALLY, RITA;
CRENSHAW, JESSE AND CRENSHAW,
DESIREE;
CREQUE, FELICITA;
CRISPINO, TONI AND CRISPINO,
CHARLES;
CROSSON, MARK L. AND CROSSON,
ALISON J.;
CROWDER, KIMBERLY;
CRUZ, ALLEN AND CRUZ, KATTY;
CRUZ, HECTOR AND PEREZ, EDGAR;
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CUEVAS, RAYMON;
CULLEN, CAMILLE, AS EXECUTOR OF
THE ESTATE OF MARIAN C. GRILLO,
DECEASED, AND INDIVIDUALLY;
CUMMINGS, RODNEY;
CUNNINGHAM, LEMUEL;
CURRY, KRISTAN D., SR. AND CURRY,
VERLETTA M.;
CZAK, ANTHONY;
DAMBAKLY, RICHARD;
D'ANGELO, JOSEPH AND D'ANGELO,
JANETTE;
DAVIS, FRANK;
DAY, BARBARA;
DEAN, SHAWN AND DEAN, REBECCA;
DECHIARO, STEVEN AND DECHIARO,
LIBERA;
DELEMO, WILLIAM;
DELPUERTO, STEPHEN AND
DELPUERTO, CRISANTA;
DEMARCO, MARILYN AND DEMARCO,
ANTHONY;
DENIGRIS, FRANK;
DERIENZO, LISA;
DEROSA, THOMAS;
DERPICH, JOHN AND DERPICH,
ANNMARIE;
DEVEAU, EDWARD AND DEVEAU,
EVELYN;
DIMAGGIO, NATALE AND DIMAGGIO,
LUCIA;
DIMIZIO, THOMAS;
DION, WILLIAM AND DION, JANET;
DISALVIO, VINCENT AND DISALVIO,
DANA;
DOCTOR-BROWN, CORABELLE, AS
EXECUTOR OF THE ESTATE OF
DARYLL BROWN, DECEASED, AND
INDIVIDUALLY;
DORZIN, NATHALIE;
DOUGLAS, COURTNEY AND DARLINE,
HUDSON;
DOYLE, THOMAS;
DRAKE, KIM AND LYNCH, RICHARD;
DROZDOWSKI, KEN;
DUDLEY, ANTHONY;
DUMAS, HENRY;
DUNN, BRUCE AND DUNN, VICTORIA;
DURANTE, THOMAS AND MANTON,
ALYSSA;
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ECKHOUSE, LINDA AND ECKHOUSE,
BRUCE;
EDWARDS, BRUCE AND EDWARDS,
SHARON A.;
ELCI, HASAN C.;
ELLIOT, MARC AND DALE, GROVER;
ELLIOTT, LYNDON;
EMERY, ALFONSO AND EMERY,
JOYCE;
ERMENDI, CHRISTOPHER AND
ERMENDI, NANCY;
ESCALONA, REYES AND REYES,
MARITZA;
FAGAN, JAMES J. AND SUTTON-
FAGAN, JUDITH ANN;
FANTAUZZI, VIRGINIA AND
FANTAUZZI, FRANCISCO;
FEDELE, THOMAS;
FEELEY, JAMES AND FEELEY, MARY;
FELICIANO, CARL;
FELICIANO, RAFAEL AND FELICIANO,
MAUREEN C.;
FERA, STANLEY;
FERRERA, RICHARD;
FERRY, RONALD AND GRAHAM,
HELEN;
FIGUEREDO, ESTRELLA;
FIGUEROA, GEORGE AND FIGUEROA,
ANGELA;
FILS, EMMANUEL;
FINNERTY, ELIZABETH V., AS
EXECUTOR OF THE ESTATE OF
JAMES G. FINNERTY, DECEASED, AND
INDIVIDUALLY;
FITZGERALD, JAMES AND
FITZGERALD, SUSAN;
FITZGIBBON, THOMAS AND
FITZGIBBON, PATRICIA;
FLOWERS, BARRY E.;
FLOWERS, DAVID AND FLOWERS,
DEBRA;
FONTAINE, DIANE;
FORBES, MARY AND FORBES, JOHN
FRANCIS;
FORMAN, WARREN L. AND FORMAN,
CONSTANCE;
FOTINO, JOSEPH AND FOTINO, AMY
L.;
FRANCISCO, FRANK AND RAMIREZ,
JOCELYN;
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FRANK, DENNIS AND FRANK,
BARBARA;
FRAULO, JOHN;
FREY, JONATHAN AND FREY, JAN;
FRISCHE, RONALD;
FUSCO, PHILIP AND FUSCO, SUZANNE;
GADSDEN, DORETTA AND GADSDEN,
GLENN;
GAINEY, DEBRA;
GAINEY, HOWARD AND GAINEY,
HOWARD L.;
GALAN, ROSA E.;
GALLETTA, JEANNE, AS
ADMINISTRATOR OF THE ESTATE OF
JOHN L. GALLETTA, DECEASED, AND
INDIVIDUALLY;
GALVIN, PATRICE, AS EXECUTOR OF
THE ESTATE OF MICHAEL GALVIN,
DECEASED AND, INDIVIDUALLY;
GARLAND, RAYMOND, JR. AND
GARLAND KRISTINE;
GAROFALO, ANN;
GAUTHIER, MICHEL AND GAUTHIER,
TERESITA;
GEIGER, HERBERT AND GEIGER,
BARBARA;
GERMANN, DIANE;
GERTNER, MURRAY AND GERTNER,
CARLENE;
GIACONA, JOSEPH;
GILBERT, WILLIAM;
GILLICK, LAWRENCE AND GILLICK,
ELISA;
GILLIGAN, DANIEL AND GILLIAN,
ANA;
GOFF, THOMAS;
GONZALEZ DAPOLITO, MYRSA AND
DEPOLITO, DENNIS;
GONZALEZ, MARIA AND VALLEY,
ANGELO;
GOODMAN, STEPHEN;
GREEN, YVONNE AND GREEN,
STANLEY;
GRIFFIN, NATHANIEL;
GROSS, ROY AND GROSS, LOIS;
GROSSMAN, JOYCE;
GUGLIELMO, MICHAEL AND
GUGLIELMO, SOPHIE;
GUINN, KATHRYN;
GUTHOFF, ROBERT AND GUTHOFF,
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ROSEMARY;
HAAKE, JEAN, AS ADMINISTRATOR
OF THE ESTATE OF MICHAEL HAAKE,
DECEASED, AND INDIVIDUALLY;
HAEFNER, KEVIN AND HAEFNER,
DENISE;
HANKS, EVELYN;
HANLON, TIMOTHY J. AND HANLON,
CORINA;
HANNAFORD, RICHARD AND
HANNAFORD, DOROTHY;
HARGIS, DELISA;
HARRIS, SOPHIA;
HART, GEORGE AND HART, JUNE;
HARTIG, GEORGE;
HAUGHT, RICHARD AND HAUGHT,
TANYA;
HAYDUCKA, ARTHUR AND
HAYDUCKA, MARTI;
HELD, CATHERINE;
HENDERSHOT, BRUCE D. AND
HENDERSHOT, PHILLINA;
HENNESSY, KEVIN AND HENNESSY,
CATHERINE ANN;
HENRY, CHARLES AND HENRY,
DEBORAH;
HENRY, JENNIFER;
HERCULES, CEDRIC AND HERCULES,
STEPHANIE;
HERRERA, LUIS AND HERRERA,
SYLVIA;
HERRIOTT, JAMES AND HERRIOTT,
MARY;
HERRON, JOSEPH;
HIDALGO, MARCO AND HIDALGO,
SHANISE;
HIGGINS, MAGALY AND HIGGINS,
THOMAS;
HIKMI, MOHAMED AND CHOUKRY,
LATIFA;
HILL, LOUIS AND HILL, STEPHANIE;
HIMBELE, THOMAS AND HIMBELE,
JANE;
HINES, ANNETTE;
HOGAN, JAMES AND HOGAN, LINDA;
HOLMES, ANTHONY M. AND HOLMES,
ALVINA;
HOPES, WILLIAM AND CUOLLO,
ILEANE;
HORKAN, JOHN;
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HOROWITZ, ARTHUR AND
HOROWITZ, TOBY;
HORVAHT, DIANA AND HORVAHT,
CRISTANO;
HOUSTON, FRANKLIN;
HUGHES, GEORGE AND HUGHES,
ANNA;
HULSE, WILLIAM, JR. AND STARK-
HULSE, MICHELLE;
HUME, LORRAINE;
HUNT, GUY;
IEMMA, VINCENZO AND IEMMA,
KATHRYN;
IESU, LOUIS AND IESU, DIANE;
INGRAM, DORIAN;
INGRASSIA, PETER AND BAGDER-
INGRASSIA, DENISE;
IRVIN, MICHAEL AND SMITH,
JENNIFER;
ISLAR, MARCELLA;
ISOM, ANTHONY;
IWANKOW, CHRISTOPHER AND
IWANKOW, JENNIFER J.;
JACKSON, GREGORY AND JACKSON,
TANUI;
JACKSON, JUNE A. AND JACKSON,
MARK;
JACKSON, LEE AND JACKSON,
HELENE;
JACOBSON, LEROY R. AND
JACOBSON, DIANE M.;
JAHNS, SHARON;
JAMES, THOMAS P. AND JAMES,
KAREN;
JEDELL, BONNIE;
JEREZ, JUAN AND PENA, GLEN;
JOHNSON, MICHAEL;
JOHNSON, ANNA;
JOHNSON, JAMES H.;
JOHNSON, JOHNNY L. AND JOHNSON,
MAUREEN;
JOHNSON, KEVIN;
JOHNSON, LEONARD D. AND
MURDOCK-JOHNSON, LORIS;
JOHNSON, MARGARET;
JOHNSON, MICHAEL A. AND ELLISON-
JOHNSON, JACQUELYN;
JOHNSON, SHERYL;
JOHNSTON, JOHN AND JOHNSTON,
GINA;
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JONES, BONNIE R.;
JONES, MICHAEL O. AND JONES,
JOANNA;
JONES, TERRY A. AND JONES, COREY;
JOSEPH, LENNARD AND JOSEPH,
CLAUDIA;
JOULE, WILLIAM AND JOULE,
JACKIE;
KANE, SHARON;
KAVOWRAS, MONA;
KELLY, ROBERT;
KENDALL, ROSALINDE;
KIMBLE MCCLOUD, TANA AND
MCCLOUD, AUBREY;
KIRSCHNER, PHIL B.;
KLEPPEL, HARRIET;
KNECHTEL, ROBERT AND KNECHTEL,
EVELINA;
KNIGHT, BETTY;
KODIS, JOSEPH AND KODIS, MELISSA;
KOHLMIER, KENNETH AND
KOHLMIER, BARBARA;
KOKIADIS, ROBERT AND KOKIADIS,
MARIA;
KONSTANTINIDIS, ZINOS AND
LAGOUDAKIS, CATHERINE;
KOSATKA, WIESLAWA;
KUSHNER, MICHAEL AND KUSHNER,
THERESA;
KYUM, OSA AND HILLSMAN, DEBRA;
LAGANA, PAUL AND LAGANA,
CARMELLA;
LARUSSO, NICHOLAS R.;
LATHROP, CHRISTOPHER AND
LATHROP, KALONI;
LAUBER, GERALD AND LAUBER,
MADELEINE;
LECKLER, FRANCIS AND LECKLER,
RENEE;
LEGGETT, GREGORY;
LENNON, MICHAEL AND LENNON,
GWYNNE;
LEON, ARTHUR AND LEON, MARSHA;
LEONARD, ERIC S. AND LEONARD,
STEPHANIE;
LEONARDI, JOSEPH;
LEVENSON, PHILIP AND LEVENSON,
SHANON;
LEWIS, DAVID L. AND LEWIS, EDITH;
LEWIS, EDNA;
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LEWIS, ELIZABETH, AS
ADMINISTRATOR OF THE ESTATE OF
WILLIAM LEWIS, DECEASED, AND
INDIVIDUALLY;
LEWIS, FRANKLIN AND TELFER-
LEWIS, ANNETTE;
LEWIS, JOSEPH;
LEWIS, KEVIN AND LEWIS, WILMA;
LEWIS, RAYVON;
LEWIS, WILMA AND LEWIS, KEVIN;
LIACI, ELIZABETH;
LIAN, ENG AND LIAN, MAY;
LIEBER, SHEILA R.;
LIENAU, JOSEPH R. AND LIENAU,
MARGARET;
LISI, RICHARD S. AND LISI, DENISE;
LIVERMORE, DONOVAN AND HAYE-
LIVERMORE, SIDONEY;
LOBMAN, JASON;
LOPEZ, ERIC AND LOPEZ, NILSA;
LOPEZ, ARNALDO AND PARK-LOPEZ,
CECELIA;
LOPRESTI, RICHARD AND LOPRESTI,
JANICE;
LOPRESTO, ANTHONY AND
LOPRESTO, JEAN;
LOUIS, JOSHUA;
LUISI, ANDREW;
LUKAS, ARTHUR AND LUKAS, ILLIA;
LYNCH, CHRISTAL;
MACK, THOMAS;
MAGGIO, JASON;
MAHNKEN, CAROLENE;
MAIER, JOHN;
MAIO, ALEXANDER AND MAIO, JEAN;
MAIURRO, WILLIAM AND MAIURRO,
ROSALBA;
MALDONADO, MINERVA AND
MALDONADO, ADOLFO;
MANGIAPANELLA, BART AND
MANIGIAPANELLA, JOANNA;
MANIA, RICHARD AND MANIA,
MAUREEN;
MANN, CHARLES, SR. AND MANN, IDA;
MAROTTA, CARLO A., JR. AND
MAROTTA, CHERYL;
MARRERO, JOSEPH R. AND
MARRERO, MARIA;
MARSHALL, ANTHONY AND
MARSHALL, DIANA;
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MARSHALL, JANICE;
MARTINEZ, CARLOS AND SOTO, IRIS;
MARTINEZ, NELSON;
MASSINGALE, DARRELL;
MCALLISTER, PHYLLIS;
MCBEAN, EDWARD AND MCBEAN,
CAROL;
MCCAMY, KATHERINE;
MCCARTHY, MATHEW AND
MCCARTHY, LAURA;
MCCORMACK, ANGELA AND
MCCORMACK, FRANK;
MCDERMOTT, THOMAS AND
MCDERMOTT, KAREN;
MCHENRY-BAILEY, TONIA AND
BAILEY, CARL;
MCKENNA, EDWARD P. AND
MCKENNA, DIANE;
MCKEON, JOSEPH;
MCLAUGHLIN, LAURA AND
MCLAUGHLIN, TERENCE;
MCNAMARA, TIMOTHY AND
VECCHIO, DIANNA;
MCQUADE, ANTHONY AND
MCQUADE, DEBORAH;
MCWILLIAMS, ERIC;
MEDICI, PHILIP;
MEDINA, JOSE L., JR. AND MEDINA,
MARIA;
MEEHAN, SUSAN;
MELORE, JOANN;
MELVIN, DELORES AND MELVIN,
GEORGE, JR.;
MENDOZA, DAVID J.;
MESSINA, ALEXANDER AND MESSINA,
LORI;
MEYER, STEVEN E. AND MEYER,
GENEVIEVE;
MICCIO, KATHRINA;
MIDGETT, ARTHUR;
MILANA, PAUL AND MILANA,
JACQUELINE;
MILLER, GEORGE AND PHINE, JOSE;
MILLER, LUCY AND MILLER,
ARQUIMEDES;
MILLER, RAULDA, AS
ADMINISTRATOR OF THE ESTATE OF
KEEVIL MILLER, DECEASED, AND
INDIVIDUALLY;
MILLER, ROBERT J. AND MILLER,
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BARBARA;
MILLINGTON, ROY AND
MILLINGTON, HEATHER;
MONCION, CELESTE;
MONTAGNA, VINCENT AND
MONTAGNA, MARY ANN;
MONTALVO, LUZ;
MOONEY, EDWARD AND MOONEY,
VICKIE;
MORALES, ELISEO AND MORALES,
NINA;
MORAN, ANDERSON AND
FERNANDEZ, RISET;
MORAN, COLLEEN;
MORAN, DARREN T. AND MORAN,
CHRISTINE;
MORETTI, DOMINICK AND MORAN-
MORETTI, MARGARET;
MORTON, DOUGLAS N. AND MILDRED,
MILES;
MOSS, JOHN L. AND MOSS, SHERYL;
MOYSE, JOSETTE AND MOYSE, EDEN;
MOZES, STEVE, II;
MRAZ, MICHAEL AND MRAZ,
CLAUDETTE;
MUENTES, PABLO AND MUENTES,
MERCEDES;
MUN-HONG, LISA AND HONG,
MICHAEL;
MURRAY, MARY L. AND MURRAY,
THOMAS;
MURRAY, NOAH K. AND MURRAY,
ROSENA;
MURTHA, RAYMOND;
NAGLE, RONALD AND NAGLE,
CLAIRE;
NAIMO, DOROTHY;
NARANJO, MARIA CLAUDIA;
NEBBARI, ABDELJALIL;
NEWMAN, SUSAN;
NIGRO, ROBERT;
NOONAN, ARTHUR AND NOONAN,
DENISE MARIE;
NORCROSS, ROBERT, SR. AND
NORCROSS, DEIRDRE;
O'BRIEN, DAWN;
O'BRIEN, GERALDINE AND O'BRIEN,
THOMAS;
O'BRIEN, ROBERT W.;
OCASIO, JEREMIAS;
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O'CONNOR, DENNIS P. AND
O'CONNER, DOLORES;
O'CONNOR, JAMES AND O'CONNOR,
PATRICIA;
O'LEARY, JOSEPH AND O'LEARY,
SARAH;
O'LEARY, GEORGE;
OLIVER, EMMA;
ONESTI, ERNEST AND ONESTI, GINA;
ORTENZIO, CHARLES AND ORTENZIO,
LUZ MARIA;
ORTIZ, EDGARDO;
ORTIZ, VICTOR AND ORTIZ, OLGA;
OSBORNE-ELLIS, GLORYA AND ELLIS,
ARTHUR;
O'SHEA, MICHAEL AND O'SHEA,
VIRGINIA;
OWCZARCZAK, PAULA;
PADILLA, RICHARD AND CRUZ,
VIVIAN;
PAGE, GWANANCII;
PARKER, CARMELITA;
PARKER, ELIZABETH;
PATTI, DENNIS AND PATTI,
CHRISTINE;
PAULINO, VIOLETA;
PEPITONE, NATAL AND PEPITONE,
CAROLE;
PERDUE, DEVRIN L., SR. AND PERDUE,
KAYE;
PEREZ, ESTHER AND MENDEZ,
MICHAEL;
PERRETTE, MARIE A.;
PERRY, LINCOLN;
PETERSEN, GUY AND PETERSEN,
NOREEN;
PIAZZA, ADOLFO AND BETANCOURT,
OLGA;
PIAZZA, JOHN AND PIAZZA, MARIEL;
PIAZZA, MARGUERITE;
PINZON, WILFREDO AND PINZON,
ADA;
PITRE, DENISE AND PITRE, LOUIS;
PITTERS, DERRICK AND PITTERS,
AUDREY;
PONCE, YVONNE AND SOTO,
GABRIEL;
POWELL, CARLA;
PRIESTER-BELL, EVETTE AND BELL,
MARVIN;
                                     14
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PRINGLE, DIANA;
PURZNER, LEONARD AND PURZNER,
LESLIEE ANNE;
PUSH, MICHAEL;
QUATELA, MARIE;
QUESADA, MARIA;
RACIOPPI, RICHARD AND RACIOPPI,
MAUREEN;
RAHILLY-LOBATON, TERRY-ANN AND
LOBATON, GERMAN;
RAIFORD, VERONICA;
RAMBHAROSE, VANESSA;
RAMOS, ANTHONY AND RAMOS,
VIRGEN;
RAUCHFUSS, JOHN AND RAUCHFUSS,
DANIELLE;
RAVENELL, CALVIN AND RAVENELL,
JACQUELINE;
REECE, PHILLIP AND HARRIS,
ANDREA;
REGAN, THOMAS AND REGAN,
PATRICIA;
REIMER, RICHARD AND REIMER,
MARSHA;
RHYMER, DORIAN;
RIBAR, BRIAN AND RIBAR, KARA;
RICHARDSON, LOUISE;
RILEY, DENNIS AND RILEY, ANN;
RING, THOMAS;
RIVERA, JAMES;
RIVERA, FLORIPE H. AND RIVERA,
MAGDALINA;
RIVERA, LUIS F. AND SANCHEZ,
LAURA;
RIVERA, MARIA;
ROBERTS, CARLTON;
ROBINSON, SHARON AND ROBINSON,
GEORGE;
ROBINSON, CLIFTON;
ROBINSON, RONALD;
RODRIGUEZ, DILGILIO;
RODRIGUEZ, JOSEPH;
RODRIGUEZ, RAUL AND RODRIGUEZ,
JUNKO;
RONGO, CHERYL AND RONGO,
ROBERT;
ROSARIO, DAVID AND ROSARIO,
LINDA;
ROSS, JOHN;
RUE, JERRY AND RUE, HELEN;
                                   15
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RUSKOWSKI, KENNETH M.;
RUTLEDGE, JEROME;
RYAN, BETZAIDA;
SAA, JORGE V.;
SALERNO, ANTHONY AND SIMONS-
SALERNO, JILL;
SALTES, PHILIP;
SALVATORI, STEPHANIE AND
SALVATORI, STEPHANIE;
SAMAROO, FRANK;
SANCHEZ, PEDRO AND BAEZ-
SANCHEZ, VIRGINA;
SANDERS, LAWRENCE AND SANDERS,
IVY;
SANDURS, HARVEY AND SANDURS,
GAIL;
SANTELLO, MIGDALIA;
SANTIAGO, RAFAEL;
SARDUY, YADIRA;
SAVAGE, CANDICE;
SCACCIA, FRANK AND SCACCIA, LISA
MARIA;
SCALAMANDRE, JOSEPH AND
SCALAMANDRE, ROSA;
SCHIANO, ANTHONY AND SCHIANO,
DEBRA LYNN;
SCHICK, DAVID;
SCHMITT, JOHN AND SCHMITT,
ROBERTA;
SCHULTZ, GARY AND SCHULTZ,
PATRICIA;
SEIDEN, TONY AND SEIDEN, ROBYN;
SENESE, SALVATORE, JR. AND
SENESE, KATHY;
SERRANO, LUIS AND SPROUL-
SERRANO, KAREN;
SERVIDER, PHIL AND SERVIDER,
DANIELLE;
SHAKES, LAVERN AND SHAKES,
BRIAN;
SHALLEY, THOMAS AND SHALLEY,
HORTENSIA;
SHARAWI, MOHAMED AND SHARAWI,
LINDA;
SHAVIS, ALLEN AND SHAVIS,
DEBORAH;
SHAVIS, JAMES AND SHAVIS, SANDRA;
SHILOH, CYNTHIA;
SHOAF, WILLIAM AND SHOAF, DANA;
SHORTE, EDWARD AND SHORTE,
                                    16
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CHARLOTTE;
SHRAVAH, DEEPA AND SHRAVAH,
AASHEESH;
SHUNG-CHIN, PAK AND NYONG-
CHONG, NG;
SHYLLON, AMINATA;
SIGLER, MARK A. AND SINGLER,
GERADDINE ANN;
SILVA, TAMYKA AND SILVA, HENRY;
SILVER, RONALD F. AND SILVER,
ROSALIE;
SIMMONS, CONSTANCE;
SINGER, CHRIS;
SIROTNIKOV, OLEG AND
SIROTNIKOV, JOANNA;
SMITH, ANTHONY;
SMITH, ASTON AND SMITH,
DEBORAH;
SMITH, ELIZABETH;
SMITH, JOYCE AND SMITH, GARY;
SMITH, OVERTA;
SOTO, CAROLINE;
SOTO, FRANCISCO;
SPAETH, FREDERICK AND SPAETH,
MARCIA;
SPITERI, SAVIOUR S. AND SPITERI,
PEGGY;
STANCO, MICHAEL AND STANCO,
BARBARA;
STANKAITIS, ZACHARY;
STEFFENELLA, DAVID AND
STEFFENELLA, KRISTINE;
STEININGER, ROBERT AND
STEININGER, DONNA;
STEPHENS, ANNIE;
STEVENS, ELAINE;
STEWART, ROBERT;
STOLTZENBERG, DENISE AND
STOLTZENBERG, EDWARD;
STRIFFOLINO, ANTHONY AND
STRIFFOLINO, JOANNE;
STROHSCHEIN, ROBERT AND
STROHSCHEIN, KIMBERLY;
STRUSMAN, MOSHE AND STRUSMAN,
BEATRICE;
SULLIVAN, EDGAR;
SULLIVAN, CHARLES AND SULLIVAN,
MARYELLEN;
SULLIVAN, JOHN;
SULLIVAN, TIMOTHY AND SULLIVAN,
                                   17
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JESSIE;
SURACE, PATRICK T.;
SURILLO, EVELYN AND SURILLO,
JASON;
SUTTON, ANTHONY;
SWANN, ROSEANNE;
SWIDERSKI, MARITZA;
TALCOVITZ, STEVEN AND
TALCOVITZ, MARTHA;
TAPOLER, ADAM AND TAPOLER,
DAWN;
TAYBEL, YURY;
TAYLOR, TYRONE;
THOMAS, ANGELLA AND THOMAS,
ARNOLD;
THOMAS, BARBARA;
THOMAS, GRANVILLE;
THOMAS, JOHN AND PALAMBO,
SARA;
THOMAS, STEVEN D.;
THOMPSON, SALLY AND THOMPSON,
KENNETH;
THOMPSON, JOSEPH;
THOMPSON, CYNTHIA;
THORNE, NEVILLE AND THORNE,
PEARL CYNTHIA;
TOMSEN, PHILIP AND TOMSEN,
DOROTHY;
TORCHIO, PETER AND TORCHIO,
JANICE;
TORRES, HECTOR;
TOUSIUS, ANTHONY;
TSAI, MICHAEL AND TSAI, MIN FENG;
TSAI, MIN FENG, AND TSAI, MICHAEL;
TYSON, CHARMAINE;
UMLAND, RICHARD AND WETZLER,
JILL E.;
URBAN, THOMAS J. AND URBAN,
JOANNE;
VALDATA, ALFRED A.;
VANNATA, JOHN AND VANNATA,
HILDA;
VANO, RAFFAELE AND VANO, MARIA;
VARGAS, JORGE;
VARLEY, MICHAEL;
VARMA, BALRAJ, AS
ADMINISTRATOR OF THE ESTATE OF
SUNITA VARMA, DECEASED, AND
INDIVIDUALLY;
VELAZQUEZ, LILLIAN;
                                     18
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VELAZQUEZ, ANTONIO AND
VELAZQUEZ, DORA;
VERGONA, RICHARD AND VERGONA,
MICHELLE;
VESE, SAMUEL;
VIENNE, KEVIN AND SOUTHWOOD,
CHRISTINE;
VILLAMIZAR, MARTHA;
VILLARIN, GLADYS;
VISLOCKY, CHARLES AND VISLOCKY,
MARYANNE;
VOLUZ, THOMAS;
VONPODLESSKI, ANDREW AND
VONPODLESSKI, ANDREW;
WAITE, MONIQUE AND WAITE,
RICARDO;
WALDRON, JOHN AND WALDRON,
KATHERINE;
WALKER, THOMAS F. AND CIPOLLA,
SAUNDIA;
WALKER, DAVID AND WALKER,
HOLLY;
WALL, GARY J. AND WALL,
MARGARET;
WALL, RICHARD AND WALL, DENISE
ANN;
WALROND, SANDRA;
WALSH, HELEN;
WALTER, GUY AND WALTER,
MARGOT;
WALTON, CURTIS AND WALTON,
BARBARA;
WASHINGTON, ALPHONSE AND
WASHINGTON, BARBARA;
WASHINGTON, MARY;
WATERSON, BRIAN AND WATERSON,
DAWN;
WATSON, RAOUL;
WEINBERG, DAVID S. AND WEINBERG,
STEPHANIE;
WEINER, BRETT AND WEINER,
TRACY;
WEISS, ALLEN;
WELSH, LAVONNE, AS EXECUTOR OF
THE ESTATE OF WILLIE MOSLEY,
DECEASED, AND INDIVIDUALLY;
WHEELER, THOMAS AND WHEELER,
RUTH;
WHITCOMB, TIMOTHY S. AND
WHITCOMB, MICHELLE;
                                   19
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WHITE, ANTHONY;
WHITE, JAMES AND WHITE,
NICCOLE;
WHITE, VIRGINIA AND GILLIARD,
MICHAEL;
WICKHAM, PRESTON;
WILLACY, SOPHIA;
WILLIS, JOYCE AND WALLIS, KEITH;
WILSON, RICHARD AND WILSON,
TINA;
WILSON, WILLIE AND WILSON,
CHERRY LEE;
WINSTEAD, CYNTHIA;
WOOD, SCOTT AND WOOD,
ANNEMARIE;
WORGUL, JOHN AND WORGUL, ANN;
WRIGHT, HAROLD AND WRIGHT,
KATHE;
YORK, MARIA AND YORK, RUSSELL;
YOUNG, JENNIFER AND YOUNG, JON
BRYAN;
YOUNG, KEITH;
ZABALA, EDWIN AND ZABALA, LISA;
ZAYATS, ALBERT AND ALIEV,
NATELLA;
ZHENG, LEE L. AND ZHENG, FANG L.;
ZILLIOX, MARK P. AND ZILLIOX,
KELLY;
ZIMMERLI, PIERRE AND ZIMMERLI,
ELIZABETH;
ZUCKERBERG, PAUL AND
ZUCKERBERG, RAMONA;




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          SHORT FORM COMPLAINT AND DEMAND FOR TRIAL BY JURY

Plaintiff(s) file(s) this Short Form Complaint and Demand for Trial by Jury against Defendants

named herein by and through the undersigned counsel. Plaintiff(s) incorporate(s) by reference

specific allegations, as indicated below, of Plaintiff’s Consolidated Amended Complaint as to the

Kingdom of Saudi Arabia (“Kingdom” or “Saudi Arabia”) and the Saudi High Commission for

Relief for Bosnia & Herzegovina (“the SHC’) and Demand for Jury Trial in In Re: Terrorist

Attacks on September 11, 2001, 03 MDL 1570 in the United States District Court for the

Southern District of New York (hereinafter “the CAC”). Plaintiff(s) file(s) this Short Form

Complaint and Demand for Jury Trial as permitted and approved by the Court’s Order of May 3,

2017, ECF No. 3 5 4 3.

                                             VENUE

   1. Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1), as

       a substantial part of the events giving rise to the claims asserted herein occurred in this

       district. Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                          JURISDICTION

   2. Jurisdiction, is as asserted in the CAC, and further, jurisdiction within the Short Form

       Complaint is permitted upon and applicable to all defendants in this action:




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                28 U.S.C. § 1605(a)(5) (non-commercial tort exception)

                28 U.S.C. § 1605B (Justice Against Sponsored Terrorism Act)

                Other: (set forth below the basis of any additional ground for

                   jurisdiction and plead such in sufficient detail as per the FRCP):

                   ______________________

                                  CAUSE OF ACTION

3. Plaintiff(s) hereby adopts(s) and incorporate(s) by reference, the CAC as if set forth fully

   herein.

4. Furthermore, the following claims and allegations are asserted by Plaintiffs(s) and are

   herein adopted by refence from the CAC:

                Aiding and Abetting and Conspiring with al Qaeda to Commit the

                   September 11th Attacks Upon the United States in Violation of 18 U.S.C.

                   § 2333(d) (JASTA)
                Aiding and Abetting and Conspiring with al Qaeda to Commit the

                   September 11th Attacks Upon the United States in Violation of 18 U.S.C.

                   § 2333(a)
                Committing Acts of International Terrorism in Violation of 18 U.S.C.

                   § 2333

                Wrongful Death, as applicable to such a claim

                Survival

                Alien Tort Claims

                Assault and Battery

                Conspiracy




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                Aiding and Abetting

                Intentional Infliction of Emotional Distress

                Liability Pursuant to Restatement (Second) of Torts § 317 and

                   Restatement (Third) of Agency § 7.05: Supervising Employees and

                   Agents

                Liability Pursuant to Restatement (Second) of Torts § 317 and

                   Restatement (Third) of Agency § 7.05: Hiring Selecting, and Retaining

                   Employees and Agents

                18 U.S.C. § 1962(a)-(d) – CIVIL RICO

                Trespass

                Putative Damages

                Plaintiff assert(s) the following additional theories and/or Causes

                   of Action against the Defendants: ___________________

                      IDENTIFICATION OF THE PLAINTIFFS

5. The following allegations and information contained herein, is allege as to each

   individual who is bringing this claim, as indicated on Appendix 1 to this Short Form

   Complaint, and/or as to each decedent who was injured and who is now deceased,

   whose claim is brought by the Estate represented, and as to the survivors of the Estate,

   herein referred to as “Plaintiffs.”

       a. The citizenship/nationality of said Plaintiff is indicated at Appendix 1 to this

           Short Form Complaint.

       b. Said Plaintiff is entitled to recover damages on the causes of action set forth

           in this Complaint.




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   c. As indicated at Appendix 1, said Plaintiff was injured as a result of the terrorist

      attacks of September 11, 2001; is the estate representative of someone who was

      injured as a result of the terrorist attacks of September 11, 2001 and who is now

      deceased, or is a survivor of someone who was injured as a result of the

      terrorist attack of September 11, 2001 and who is now deceased.

   d. For those Plaintiffs with injury claims, as indicated in Appendix 1, on or after

      September 11, 2001, said Plaintiff was present at the Pentagon and/or the

      World Trade Center site and/or its surroundings and/or lower Manhattan and/or

      at any area wherein he/she was exposed to toxins as a result of the terrorist

      attacks and was exposed to toxins from the attacks, and/or was otherwise

      injured, and/or as otherwise alleged: _____________________.

   e. As a direct, proximate and foreseeable result of Defendants’ action or inactions,

      Plaintiff suffered bodily injury and/or death, and consequently economic and

      other losses, including but not limited to pain suffering, emotional distress,

      psychological injuries, and loss of enjoyment of life, and otherwise described in

      the CAC, and/or otherwise may be specified in subsequent pleadings and/or

      discovery proceedings, and/or as otherwise alleged herein: ______________.

   f. The name, relationship to the injured 9/11 victim, residency,

      citizenship/nationality, and the general nature of the claim for each Plaintiff is

      listed on the attached Appendix 1, and is incorporated herein as allegations,

      with all allegations of the within Short Form Complaint deemed alleged as to

      each plaintiff.

                IDENTIFICATION OF THE DEFENDANTS




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   6. The following entities are Defendants herein:

           Kingdom of Saudi Arabia

           Saudi High Commission for Relief of Bosnia & Herzegovina

       Plaintiffs’ constituent case, if applicable, and this Short Form Complaint shall be deemed

       subject to any motion to dismiss the CAC or Answer to the CAC filed by Saudi Arabia

       or the SHC. By way of filing this Short Form Complaint, plaintiffs shall not be deemed

       to have adopted any class-action allegations set forth in the CAC or waived any right to

       object to class certification or opt out of any certified class. This Short Form Complaint

       also does not serve as a request for exclusion from any class that the Court may certify.

              WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants as

       set forth in the CAC as appropriate.

                                              JURY DEMAND

              Plaintiff(s) hereby demand(s) a trial by jury as to the claims in this action.




Dated: July 11, 2017                                 Respectfully Submitted,


                                                     _________s/_________________
                                                     S. Joonho Hong, Esq. (SJH9513)
                                                     Parker Waichman LLP
                                                     6 Harbor Park Drive
                                                     Port Washington, New York 11050
                                                     Tel: (516) 466-6500
                                                     Direct: (516) 723-4621
                                                     Fax: (516) 723-4721
                                                     S. Joonho Hong, Esq:
                                                     sjhong@yourlawyer.com
                                                     Counsel for Plaintiffs(s)




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Defendants:
KINGDOM OF SAUDI ARABIA
c/o Michael K. Kellogg, Esq.
 Kellogg, Hansen, Todd, Figel & Frederick,
 P.L.L.C.
Attorneys for Kingdom of Saudi Arabia
1615 M Street N.W. Suite 400
Washington, DC 20036-3215
Tel#: 202-326-7900

 SAUDI HIGH COMMISSION FOR RELIEF
 OF BOSNIA AND HERZEGOVINA
 c/o Roy T. Englert, Jr., Esq.
 Robbins, Russell, Englert, Orseck, Untereiner &
 Sauber, LLP
 Attorneys for Saudi High Commission for Relief of
 Bosnia & Herzegovina
 1801 K Street N.W. Suite 411L
 Washington, DC 20006
 Tel#: 202-775-4503




               See Appendix 1 Annexed




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      APPENDIX 1 TO THE SHORT FORM COMPLAINT DATED JULY 11, 2017
   Each line below is deemed an allegation, incorporating the allegations, language and
   references within the Short Form Complaint to which Appendix is appended, and shall
   be referenced as Allegation 1 of Appendix 1 to the Short Form Complaint, Allegation 2
   of Appendix 1 to the Short Form Complaint, etc.

     PLAINTIFFS
       NAME IN
    ALPHABETICA
     L ORDER OF                       State of                             General
     LAST NAME   Relationshi          Residenc                             Nature of the
     OF INJURED  p to injured         y at        Citizenship/Nationali    Claim
     9/11 VICTIM 9/11 victim          Filing      ty on 9/11/2001          Asserted
                                                                           Personal
 1 Abtello, Elliot   Self         NY              US                       Injury
   Acker, Chris B.                                                         Personal
   and Acker,                                                              Injury, Loss of
 2 Melinda           Self, Spouse NJ              US                       Consortium
   Addonizio, Robert                                                       Personal
   and Addonizio,                                                          Injury, Loss of
 3 Diane             Self, Spouse NY              US                       Consortium
                                                                           Personal
 4 Alexander, Junior     Self         NY          US                       Injury
                                                                           Personal
 5 Alston, Mary          Self         NY          US                       Injury
                                                                           Personal
 6 Alvarado, Zoraida     Self         NY          US                       Injury
                                                                           Personal
 7 Amato, Mary           Self         NY          US                       Injury
                                                                           Personal
 8 Amato, Thomas         Self         NJ          US                       Injury
   Anastasio,                                                              Personal
 9 Thomas                Self         NJ          US                       Injury
                                                                           Personal
   Anderson, Robert                                                        Injury, Loss of
10 L. and Plant, Isaac   Self, Spouse NC          US                       Consortium
   Arias, Eduardo                                                          Personal
   and Arias,                                                              Injury, Loss of
11 Loudres               Self, Spouse NY          US                       Consortium
                                                                           Personal
   Arndt, Gary and                                                         Injury, Loss of
12 Arndt, Suzanne        Self, Spouse NY          US                       Consortium
                                                                           Personal
13 Arntsen, Hans         Self         NY          US                       Injury
   Badawy, Joyce                                                           Personal
   and Badawy,                                                             Injury, Loss of
14 Raouf                 Self, Spouse NY          US                       Consortium
                                           27
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   Badillo, Kelly and                                       Personal
   Negron-Badillo,                                          Injury, Loss of
15 Debra                 Self, Spouse NJ        US          Consortium
                                                            Personal
16 Baez, Sylvia          Self        NY         US          Injury
   Ballard, Robert                                          Personal
   and Ballard,                                             Injury, Loss of
17 Doreen Ann            Self, Spouse NJ        US          Consortium
                                                            Personal
   Barrera, Anthony                                         Injury, Loss of
18 and Barrera, Lois     Self, Spouse NJ        US          Consortium
                                                            Personal
19 Barrow, Nora       Self         NJ           US          Injury
   Bartuccelli,
   Andrew and                                               Personal
   Bartuccelli,                                             Injury, Loss of
20 Theresa            Self, Spouse FL           US          Consortium
   Bates, Reginald L.                                       Personal
   and Bates,                                               Injury, Loss of
21 Rosalind           Self, Spouse NJ           US          Consortium
                                                            Personal
22 Becklund, Ava     Self         NC            US          Injury
   Beckwith, Maribel                                        Personal
   and Beckwith,                                            Injury, Loss of
23 James             Self, Spouse VA            US          Consortium
                                                            Personal
24 Beideman, Brian       Self        NJ         US          Injury
   Benavides,                                               Personal
   Carmen and                                               Injury, Loss of
25 Korner, Chris         Self, Spouse PA        US          Consortium
   Benvenuto,                                               Personal
26 Lucille               Self        NY         US          Injury
   Berg, Robert J.,                                         Personal
27 Jr.                   Self        NJ         US          Injury
   Bernard, Francis                                         Personal
   J. and Bernard,                                          Injury, Loss of
28 Brenda                Self, Spouse FL        US          Consortium
   Bertorelli, Richard                                      Personal
   and Molhaul,                                             Injury, Loss of
29 Joanne                Self, Spouse NY        US          Consortium
                                                            Personal
30 Bey, Malik            Self        NY         US          Injury
                                                            Personal
31 Bey, Monifa           Self        NY         US          Injury
                                                            Personal
32 Bidetti, Marie        Self        NY         US          Injury
33 Bigot, Edwood         Self        IN         US          Personal
                                           28
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                                                            Injury
                                                            Personal
   Biscuti, Aniello F.                                      Injury, Loss of
34 and Biscuti, Maria    Self, Spouse NY        US          Consortium
   Blum, Michael                                            Personal
   and Mahyadin-                                            Injury, Loss of
35 Blum, Nardjani        Self, Spouse NY        US          Consortium
                                                            Personal
36 Bolling, Gregory      Self         NY        US          Injury
                                                            Personal
37 Bombace, John         Self         NY        US          Injury
   Boothe, Lawrence                                         Personal
   and Boothe,                                              Injury, Loss of
38 Debra                 Self, Spouse NY        US          Consortium
   Borowsky,                                                Personal
39 William               Self         NY        US          Injury
                                                            Personal
40 Bottorff, Richard Self             NY        US          Injury
   Bourgeois, Ronald                                        Personal
41 K.                Self             NY        US          Injury
                                                            Personal
42 Boutin, Patrick       Self         NY        US          Injury
                                                            Personal
43 Bowers, Ronald        Self         NY        US          Injury
   Bradshaw,                                                Personal
44 Thomas                Self         NY        US          Injury
   Breedlove,
   Marvin and                                               Personal
   Breedlove,                                               Injury, Loss of
45 Tessalonika           Self, Spouse NY        US          Consortium
   Brill, Francine S.,
   as administrator of
   the Estate of
   Douglas S. Brill,                                        Wrongful
   deceased, and                                            Death,
46 individually          PR/ Spouse   NJ        US          Solatium
   Brooke, Kenneth                                          Personal
   and Brooke,                                              Injury, Loss of
47 Roseann               Self, Spouse NY        US          Consortium
   Brooks-Fonseca,                                          Personal
   Tishena and                                              Injury, Loss of
48 Fonseca, Harold       Self, Spouse NY        US          Consortium
                                                            Personal
49 Brown, Estelle F.     Self         NY        US          Injury
                                                            Personal
50 Brown, Everette       Self         NJ        US          Injury


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                                                            Personal
   Brown, Paul and                                          Injury, Loss of
51 Brown, Barbara       Self, Spouse NJ        US           Consortium
                                                            Personal
52 Brown, Tyrone        Self        GA         US           Injury
   Bruce, Richard                                           Personal
   and Bruce, Alice                                         Injury, Loss of
53 M.                   Self, Spouse VA        US           Consortium
                                                            Personal
54 Bryant, Melvin       Self        NY         US           Injury
                                                            Personal
55 Bryant, Cassius      Self        NY         US           Injury
                                                            Personal
56 Buncom, Linda K. Self            NY         US           Injury
                                                            Personal
57 Burgess, Michelle    Self        NY         US           Injury
   Burgos, Richard,                                         Personal
   and Burgos,                                              Injury, Loss of
58 Miram                Self, Spouse NY        US           Consortium
                                                            Personal
59 Burns, Sandra        Self        NY         US           Injury
   Burriesci,                                               Personal
   Nicholas and                                             Injury, Loss of
60 Burriesci, Elana     Self, Spouse NY        US           Consortium
                                                            Personal
61 Butler, Brenda       Self        NY         US           Injury
                                                            Personal
62 Butterfield, Anna    Self        NY         US           Injury
                                                            Personal
63 Butts, Denise        Self        NY         US           Injury
   Bwalya, Sharon                                           Personal
   and Bwalya,                                              Injury, Loss of
64 Dennies              Self, Spouse VA        US           Consortium
   Caballero, Leslie                                        Personal
   and Caballero,                                           Injury, Loss of
65 Austin               Self, Spouse NY        US           Consortium
   Cabassa, Danette                                         Personal
   and Cabassa,                                             Injury, Loss of
66 David                Self, Spouse NY        US           Consortium
                                                            Personal
67 Calicchia , Gloria   Self        NY         US           Injury
   Callan, Edward S.                                        Personal
   and Callan,                                              Injury, Loss of
68 Doreen Marie         Self, Spouse NJ        US           Consortium
   Camilo, Wilton                                           Personal
   and Camilo,                                              Injury, Loss of
69 Xiomara              Self, Spouse NY        US           Consortium
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   Cammarata,
   Joseph L. and                                            Personal
   Cammarata,                                               Injury, Loss of
70 Patricia Ann          Self, Spouse NY        US          Consortium
                                                            Personal
   Campbell, Cecilia                                        Injury, Loss of
71 and Leon, Carlos      Self        NY         US          Consortium
   Campbell-Wyse,                                           Personal
72 Althea                Self        NY         US          Injury
                                                            Personal
   Campo, Paul and                                          Injury, Loss of
73 Campo, Elizabeth      Self, Spouse NY        US          Consortium
   Canales, Edwin                                           Personal
   and Canales,                                             Injury, Loss of
74 Johanna               Self, Spouse FL        US          Consortium
   Capobianco,                                              Personal
75 Michael A.            Self        NY         US          Injury
                                                            Personal
76 Cardona, Robert       Self        NY         US          Injury
                                                            Personal
77 Carlstrom, Tom        Self        NY         US          Injury
                                                            Personal
78 Carolina, Lisa        Self        NY         US          Injury
   Carrasquillo,                                            Personal
79 Adam                  Self        NY         US          Injury
                                                            Personal
80 Carroll, John         Self        FL         US          Injury
                                                            Personal
   Carson, Dennis J.                                        Injury, Loss of
81 and Hoy, Anne         Self, Spouse ON        Canada      Consortium
                                                            Personal
82 Carter, Brian F.      Self        NY         US          Injury
   Carter, Sabrina, as
   executor of the
   Estate of Derrick                                        Wrongful
   Carter, deceased,                                        Death,
83 and individually      PR/Spouse   NY         US          Solatium
   Carter, Wayne                                            Personal
   and Carter,                                              Injury, Loss of
84 Timika                Self, Spouse NY        US          Consortium
                                                            Personal
85 Carusi, Victor R.     Self        NY         US          Injury
   Caruso, Thomas                                           Personal
   and Caruso,                                              Injury, Loss of
86 Jelene                Self, Spouse NJ        US          Consortium
                                                            Personal
87 Carver, Katherine     Self        NY         US          Injury

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                                                             Personal
 88 Casale, Michael      Self        NY         US           Injury
                                                             Personal
 89 Casella, Jack        Self        PA         US           Injury
                                                             Personal
 90 Castanon, Mildred    Self        NJ         US           Injury
    Castellano,                                              Personal
 91 Christine            Self        NY         US           Injury
    Castellano, Peter                                        Personal
    and Castellano,                                          Injury, Loss of
 92 Elaine               Self, Spouse NY        US           Consortium
    Castellanos,
    Carlos and                                               Personal
    Castellanos,                                             Injury, Loss of
 93 Rosemarie            Self, Spouse NY        US           Consortium
    Castiello, Darren                                        Personal
    M. and Castiello,                                        Injury, Loss of
 94 Camille              Self, Spouse NJ        US           Consortium
                                                             Personal
 95 Cerino, Glen         Self        CO         US           Injury
    Chatman, Zedoria                                         Personal
    and Chatman,                                             Injury, Loss of
 96 Ronald               Self, Spouse NJ        US           Consortium
                                                             Personal
 97 Chernoff, Steven     Self        NY         US           Injury
    Chillari, Joseph                                         Personal
    and Chillari,                                            Injury, Loss of
 98 Donna                Self, Spouse PA        US           Consortium
    Chudnovski,                                              Personal
 99 Leonard D.           Self        NJ         US           Injury
    Ciacciarelli,                                            Personal
100 Joanne               Self        NY         US           Injury
    Ciccarone, Lisa G.                                       Personal
    and Ciccarone,                                           Injury, Loss of
101 Nicholas             Self, Spouse NJ        US           Consortium
    Ciesla, Alan and                                         Personal
    Ciesla, Suzzane                                          Injury, Loss of
102 Marie                Self, Spouse NY        US           Consortium
                                                             Personal
103 Coakley, Wilson      Self        NY         US           Injury
    Cobin, Jonathan                                          Personal
    T. and Cobin,                                            Injury, Loss of
104 Allyson              Self, Spouse NJ        US           Consortium
                                                             Personal
105 Cogburn, Victor      Self        NY         US           Injury
                                                             Personal
106 Coger, Tyrell        Self        NY         US           Injury
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                                                                Personal
107 Cohen, Jason           Self        NY         US            Injury
                                                                Personal
    Coley, Gloria and                                           Injury, Loss of
108 Coley, Richard         Self, Spouse NY        US            Consortium
                                                                Personal
109 Collazo, Victor        Self        NY         US            Injury
    Colligan, Gerald                                            Personal
    and Colligan,                                               Injury, Loss of
110 Beth                   Self, Spouse NJ        US            Consortium
                                                                Personal
    Colon, Anthony                                              Injury, Loss of
111 and Colon, Mary        Self, Spouse NY        US            Consortium
                                                                Personal
112 Colon, John            Self        NY         US            Injury
                                                                Personal
113 Colon, Denise          Self        NY         US            Injury
                                                                Personal
114 Colon, Richard         Self        NY         US            Injury
    Congro, Concetta                                            Personal
    and Congro,                                                 Injury, Loss of
115 Vincent                Self, Spouse NJ        US            Consortium
                                                                Personal
       Conlon, Brian and                                        Injury, Loss of
116    Conlon, Jane        Self, Spouse NY        US            Consortium
       Contino, Anthony                                         Personal
       and Contino,                                             Injury, Loss of
117    Sandra A.           Self, Spouse NY        US            Consortium
       Cooper-Henry,                                            Personal
118    Esther              Self        NY         US            Injury
       Cordero, Roland                                          Personal
       and Cordero,                                             Injury, Loss of
119    Dayhana             Self, Spouse NY        US            Consortium
       Cordes, Arthur                                           Personal
       and Cordes,                                              Injury, Loss of
120    Elaine              Self, Spouse NY        US            Consortium
                                                                Personal
121 Correa, Pedro          Self        NY         US            Injury
    Costello, Joseph                                            Personal
    and Costello,                                               Injury, Loss of
122 Rosemary               Self, Spouse CT        US            Consortium
    Crapanzano,                                                 Personal
123 Gregory                Self        NY         US            Injury
    Credle-Barrett,                                             Personal
    Carol and Barrett,                                          Injury, Loss of
124 Henry                  Self, Spouse NY        US            Consortium


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    Creighton-Kirk,                                          Personal
    Daniel J. and                                            Injury, Loss of
125 Mullally, Rita       Self, Spouse NY        US           Consortium
    Crenshaw, Jesse                                          Personal
    and Crenshaw,                                            Injury, Loss of
126 Desiree              Self, Spouse NY        US           Consortium
                                                             Personal
127 Creque, Felicita     Self        NY         US           Injury
    Crispino, Toni                                           Personal
    and Crispino,                                            Injury, Loss of
128 Charles              Self, Spouse NJ        US           Consortium
    Crosson, Mark L.                                         Personal
    and Crosson,                                             Injury, Loss of
129 Alison J.            Self, Spouse NY        US           Consortium
    Crowder,                                                 Personal
130 Kimberly             Self        NY         US           Injury
                                                             Personal
    Cruz, Allen and                                          Injury, Loss of
131 Cruz, Katty          Self, Spouse NY        US           Consortium
                                                             Personal
    Cruz, Hector and                                         Injury, Loss of
132 Perez, Edgar         Self, Spouse NY        US           Consortium
                                                             Personal
133 Cuevas, Raymon       Self        NY         US           Injury
    Cullen, Camille,
    as executor of the
    Estate of Marian
    C. Grillo,                                               Wrongful
    deceased, and                                            Death,
134 individually         PR          NY         US           Solatium
    Cummings,                                                Personal
135 Rodney               Self        NY         US           Injury
    Cunningham,                                              Personal
136 Lemuel               Self        NY         US           Injury
    Curry, Kristan D.,                                       Personal
    Sr. and Curry,                                           Injury, Loss of
137 Verletta M.          Self, Spouse MD        US           Consortium
                                                             Personal
138 Czak, Anthony        Self        FL         US           Injury
    Dambakly,                                                Personal
139 Richard              Self        NC         US           Injury
    D'Angelo, Joseph                                         Personal
    and D'Angelo,                                            Injury, Loss of
140 Janette              Self, Spouse NY        US           Consortium
                                                             Personal
141 Davis, Frank         Self        NY         US           Injury
142 Day, Barbara         Self        NY         US           Personal
                                           34
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                                                             Injury
                                                             Personal
    Dean, Shawn and                                          Injury, Loss of
143 Dean, Rebecca       Self, Spouse NY        US            Consortium
    Dechiaro, Steven                                         Personal
    and Dechiaro,                                            Injury, Loss of
144 Libera              Self, Spouse NJ        US            Consortium
                                                             Personal
145 Delemo, William Self          NY           US            Injury
    DelPuerto,
    Stephen and                                              Personal
    DelPuerto,                                               Injury, Loss of
146 Crisanta         Self, Spouse NY           US            Consortium
    DeMarco, Marilyn                                         Personal
    and DeMarco,                                             Injury, Loss of
147 Anthony          Self, Spouse NY           US            Consortium
                                                             Personal
148 Denigris, Frank     Self        NY         US            Injury
                                                             Personal
149 DeRienzo, Lisa      Self        NY         US            Injury
                                                             Personal
150 DeRosa, Thomas      Self        NY         US            Injury
    Derpich, John and                                        Personal
    Derpich,                                                 Injury, Loss of
151 Annmarie            Self, Spouse NJ        US            Consortium
    Deveau, Edward                                           Personal
    and Deveau,                                              Injury, Loss of
152 Evelyn              Self, Spouse NY        US            Consortium
    DiMaggio, Natale                                         Personal
    and DiMaggio,                                            Injury, Loss of
153 Lucia               Self, Spouse NJ        US            Consortium
                                                             Personal
154 Dimizio, Thomas     Self        NY         US            Injury
                                                             Personal
    Dion, William and                                        Injury, Loss of
155 Dion, Janet       Self, Spouse NY          US            Consortium
    DiSalvio, Vincent                                        Personal
    and DiSalvio,                                            Injury, Loss of
156 Dana              Self, Spouse NJ          US            Consortium
    Doctor-Brown,
    Corabelle, as
    executor of the
    Estate of Daryll                                         Wrongful
    Brown, deceased,                                         Death,
157 and individually  PR           NY          US            Solstium
                                                             Personal
158 Dorzin, Nathalie    Self        NY         US            Injury

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    Douglas,                                                 Personal
    Courtney and                                             Injury, Loss of
159 Darline, Hudson     Self, Spouse NY        US            Consortium
160 Doyle, Thomas
                                                             Personal
    Drake, Kim and                                           Injury, Loss of
161 Lynch, Richard      Self, Spouse NY        US            Consortium
                                                             Personal
162 Drozdowski, Ken     Self        NY         US            Injury
                                                             Personal
163 Dudley, Anthony     Self        NY         US            Injury
                                                             Personal
164 Dumas, Henry        Self        NY         US            Injury
                                                             Personal
    Dunn, Bruce and                                          Injury, Loss of
165 Dunn, Victoria      Self, Spouse NJ        US            Consortium
    Durante, Thomas                                          Personal
    and Manton,                                              Injury, Loss of
166 Alyssa              Self, Spouse NY        US            Consortium
    Eckhouse, Linda                                          Personal
    and Eckhouse,                                            Injury, Loss of
167 Bruce               Self, Spouse NY        US            Consortium
    Edwards, Bruce                                           Personal
    and Edwards,                                             Injury, Loss of
168 Sharon A.           Self, Spouse NY        US            Consortium
                                                             Personal
169 Elci, Hasan C.      Self        NY         US            Injury
                                                             Personal
    Elliot, Marc and                                         Injury, Loss of
170 Dale, Grover        Self, Spouse NY        US            Consortium
                                                             Personal
171 Elliott, Lyndon     Self        NJ         US            Injury
                                                             Personal
    Emery, Alfonso                                           Injury, Loss of
172 and Emery, Joyce    Self, Spouse NY        US            Consortium
    Ermendi,                                                 Personal
    Christopher and                                          Injury, Loss of
173 Ermendi, Nancy      Self, Spouse NJ        US            Consortium
    Escalona, Reyes                                          Personal
    and Reyes,                                               Injury, Loss of
174 Maritza             Self, Spouse NY        US            Consortium
    Fagan, James J.                                          Personal
    and Sutton-Fagan,                                        Injury, Loss of
175 Judith Ann          Self, Spouse NY        US            Consortium
    Fantauzzi,                                               Personal
    Virginia and                                             Injury, Loss of
176 Fantauzzi,          Self, Spouse NY        US            Consortium
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     Francisco

                                                             Personal
177 Fedele, Thomas       Self        NY         US           Injury
                                                             Personal
    Feeley, James and                                        Injury, Loss of
178 Feeley, Mary         Self, Spouse NC        US           Consortium
                                                             Personal
179 Feliciano, Carl      Self        NY         US           Injury
    Feliciano, Rafael                                        Personal
    and Feliciano,                                           Injury, Loss of
180 Maureen C.           Self, Spouse FL        US           Consortium
                                                             Personal
181 Fera, Stanley        Self        NY         US           Injury
                                                             Personal
182 Ferrera, Richard     Self        NJ         US           Injury
                                                             Personal
    Ferry, Ronald and                                        Injury, Loss of
183 Graham, Helen        Self, Spouse NJ        US           Consortium
    Figueredo,                                               Personal
184 Estrella             Self        NY         US           Injury
    Figueroa, George                                         Personal
    and Figueroa,                                            Injury, Loss of
185 Angela               Self, Spouse FL        US           Consortium
                                                             Personal
186 Fils, Emmanuel       Self        NY         US           Injury
    Finnerty,
    Elizabeth V., as
    executor of the
    Estate of James G.
    Finnerty,                                                Wrongful
    deceased, and                                            Death,
187 individually         PR/Spouse   NY         US           Solatium
    Fitzgerald, James                                        Personal
    and Fitzgerald,                                          Injury, Loss of
188 Susan                Self, Spouse NJ        US           Consortium
    Fitzgibbon,
    Thomas and                                               Personal
    Fitzgibbon,                                              Injury, Loss of
189 Patricia             Self, Spouse SC        US           Consortium
                                                             Personal
190 Flowers, Barry E.    Self        FL         US           Injury
    Flowers, David                                           Personal
    and Flowers,                                             Injury, Loss of
191 Debra                Self, Spouse NY        US           Consortium
                                                             Personal
192 Fontaine, Diane      Self        NY         US           Injury

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       Forbes, Mary and                                         Personal
       Forbes, John                                             Injury, Loss of
193    Francis            Self, Spouse MD        US             Consortium
       Forman, Warren                                           Personal
       L. and Forman,                                           Injury, Loss of
194    Constance          Self, Spouse NY        US             Consortium
       Fotino, Joseph                                           Personal
       and Fotino, Amy                                          Injury, Loss of
195    L.                 Self, Spouse NY        US             Consortium
       Francisco, Frank                                         Personal
       and Ramirez,                                             Injury, Loss of
196    Jocelyn            Self, Spouse NY        US             Consortium
                                                                Personal
    Frank, Dennis and                                           Injury, Loss of
197 Frank, Barbara        Self, Spouse NJ        US             Consortium
                                                                Personal
198 Fraulo, John          Self        NY         US             Injury
                                                                Personal
    Frey, Jonathan                                              Injury, Loss of
199 and Frey, Jan         Self, Spouse FL        US             Consortium
                                                                Personal
200 Frische, Ronald       Self        NY         US             Injury
                                                                Personal
    Fusco, Philip and                                           Injury, Loss of
201 Fusco, Suzanne        Self, Spouse NY        US             Consortium
    Gadsden, Doretta                                            Personal
    and Gadsden,                                                Injury, Loss of
202 Glenn                 Self, Spouse NY        US             Consortium
                                                                Personal
203 Gainey, Debra         Self        NY         US             Injury
    Gainey, Howard                                              Personal
    and Gainey,                                                 Injury, Loss of
204 Howard L.             Self, Spouse MD        US             Consortium
                                                                Personal
                                                                Injury, Loss of
205 Galan, Rosa E.      Self          NY         US             Consortium
    Galletta, Jeanne,
    as administrator of
    the Estate of John
    L. Galletta,                                                Wrongful
    deceased, and                                               Death,
206 individually        PR/Spouse     NY         US             Solatium
    Galvin, Patrice, as
    executor of the
    Estate of Michael                                           Wrongful
    Galvin, deceased                                            Death,
207 and, individually   PR/Spouse     NY         US             Solatium

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    Garland,                                                  Personal
    Raymond, Jr. and                                          Injury, Loss of
208 Garland Kristine     Self, Spouse NJ        US            Consortium
                                                              Personal
209 Garofalo, Ann        Self        NY         US            Injury
    Gauthier, Michel                                          Personal
    and Gauthier,                                             Injury, Loss of
210 Teresita             Self, Spouse NY        US            Consortium
    Geiger, Herbert                                           Personal
    and Geiger,                                               Injury, Loss of
211 Barbara              Self, Spouse NJ        US            Consortium
                                                              Personal
212 Germann, Diane       Self        NY         US            Injury
    Gertner, Murray                                           Personal
    and Gertner,                                              Injury, Loss of
213 Carlene              Self, Spouse NJ        US            Consortium
                                                              Personal
214 Giacona, Joseph      Self        NY         US            Injury
                                                              Personal
215 Gilbert, William     Self        NY         US            Injury
                                                              Personal
    Gillick, Lawrence                                         Injury, Loss of
216 and Gillick, Elisa   Self, Spouse NY        US            Consortium
                                                              Personal
    Gilligan, Daniel                                          Injury, Loss of
217 and Gillian, Ana     Self, Spouse NY        US            Consortium
                                                              Personal
218 Goff, Thomas         Self        NY         US            Injury
    Gonzalez
    Dapolito, Myrsa                                           Personal
    and Depolito,                                             Injury, Loss of
219 Dennis               Self, Spouse NY        US            Consortium
    Gonzalez, Maria                                           Personal
    and Valley,                                               Injury, Loss of
220 Angelo               Self, Spouse NY        US            Consortium
    Goodman,                                                  Personal
221 Stephen              Self        NY         US            Injury
    Green, Yvonne                                             Personal
    and Green,                                                Injury, Loss of
222 Stanley              Self, Spouse NY        US            Consortium
                                                              Personal
223 Griffin, Nathaniel   Self        NY         US            Injury
                                                              Personal
    Gross, Roy and                                            Injury, Loss of
224 Gross, Lois          Self, Spouse NY        US            Consortium
                                                              Personal
225 Grossman, Joyce      Self        NY         US            Injury

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    Guglielmo,
    Michael and                                              Personal
    Guglielmo,                                               Injury, Loss of
226 Sophie             Self, Spouse PA        US             Consortium
                                                             Personal
227 Guinn, Kathryn     Self        NY         US             Injury
    Guthoff, Robert                                          Personal
    and Guthoff,                                             Injury, Loss of
228 Rosemary           Self, Spouse NY        US             Consortium
    Haake, Jean, as
    administrator of
    the Estate of
    Michael Haake,                                           Wrongful
    deceased, and                                            Death,
229 individually       PR/Spouse   NJ         US             Solatium
    Haefner, Kevin                                           Personal
    and Haefner,                                             Injury, Loss of
230 Denise             Self, Spouse NY        US             Consortium
                                                             Personal
231 Hanks , Evelyn     Self        VA         US             Injury
    Hanlon, Timothy                                          Personal
    J. and Hanlon,                                           Injury, Loss of
232 Corina             Self, Spouse PA        US             Consortium
    Hannaford,
    Richard and                                              Personal
    Hannaford,                                               Injury, Loss of
233 Dorothy            Self, Spouse CA        US             Consortium
                                                             Personal
234 Hargis, Delisa     Self        NY         US             Injury
                                                             Personal
235 Harris, Sophia     Self        NY         US             Injury
                                                             Personal
    Hart, George and                                         Injury, Loss of
236 Hart, June         Self, Spouse FL        US             Consortium
                                                             Personal
237 Hartig, George     Self        NY         US             Injury
    Haught, Richard                                          Personal
    and Haught,                                              Injury, Loss of
238 Tanya              Self, Spouse NY        US             Consortium
    Hayducka, Arthur                                         Personal
    and Hayducka,                                            Injury, Loss of
239 Marti              Self, Spouse NJ        US             Consortium
                                                             Personal
240 Held, Catherine   Self         NY         US             Injury
    Hendershot, Bruce
    D. and                                                   Personal
    Hendershot,                                              Injury, Loss of
241 Phillina          Self, Spouse PA         US             Consortium
                                         40
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    Hennessy, Kevin                                          Personal
    and Hennessy,                                            Injury, Loss of
242 Catherine Ann        Self, Spouse NY        US           Consortium
    Henry, Charles                                           Personal
    and Henry,                                               Injury, Loss of
243 Deborah              Self, Spouse NY        US           Consortium
                                                             Personal
244 Henry, Jennifer      Self        NY         US           Injury
    Hercules, Cedric                                         Personal
    and Hercules,                                            Injury, Loss of
245 Stephanie            Self, Spouse NY        US           Consortium
                                                             Personal
    Herrera , Luis and                                       Injury, Loss of
246 Herrera, Sylvia      Self, Spouse NY        US           Consortium
    Herriott, James                                          Personal
    and Herriott,                                            Injury, Loss of
247 Mary                 Self, Spouse PA        US           Consortium
                                                             Personal
248 Herron, Joseph       Self        SC         US           Injury
    Hidalgo, Marco                                           Personal
    and Hidalgo,                                             Injury, Loss of
249 Shanise              Self, Spouse NY        US           Consortium
    Higgins, Magaly                                          Personal
    and Higgins,                                             Injury, Loss of
250 Thomas               Self, Spouse NY        US           Consortium
    Hikmi, Mohamed                                           Personal
    and Choukry,                                             Injury, Loss of
251 Latifa               Self, Spouse NY        US           Consortium
                                                             Personal
    Hill, Louis and                                          Injury, Loss of
252 Hill, Stephanie      Self, Spouse NJ        US           Consortium
                                                             Personal
    Himbele, Thomas                                          Injury, Loss of
253 and Himbele, Jane    Self, Spouse NY        US           Consortium
                                                             Personal
254 Hines, Annette       Self        NY         US           Injury
                                                             Personal
    Hogan, James and                                         Injury, Loss of
255 Hogan, Linda         Self, Spouse NY        US           Consortium
    Holmes, Anthony                                          Personal
    M. and Holmes,                                           Injury, Loss of
256 Alvina               Self, Spouse NJ        US           Consortium
                                                             Personal
    Hopes, William                                           Injury, Loss of
257 and Cuollo, Ileane   Self, Spouse NY        US           Consortium
                                                             Personal
258 Horkan, John         Self        NY         US           Injury

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    Horowitz, Arthur                                          Personal
    and Horowitz,                                             Injury, Loss of
259 Toby                 Self, Spouse NY        US            Consortium
    Horvaht, Diana                                            Personal
    and Horvaht,                                              Injury, Loss of
260 Cristano             Self, Spouse NJ        US            Consortium
                                                              Personal
261 Houston, Franklin    Self        NY         US            Injury
                                                              Personal
    Hughes, George                                            Injury, Loss of
262 and Hughes, Anna     Self, Spouse NJ        US            Consortium
    Hulse, William,                                           Personal
    Jr. and Stark-                                            Injury, Loss of
263 Hulse, Michelle      Self, Spouse NY        US            Consortium
                                                              Personal
264 Hume, Lorraine       Self        NY         US            Injury
                                                              Personal
265 Hunt, Guy            Self        NY         US            Injury
    Iemma, Vincenzo                                           Personal
    and Iemma,                                                Injury, Loss of
266 Kathryn              Self, Spouse NY        US            Consortium
                                                              Personal
    Iesu, Louis and                                           Injury, Loss of
267 Iesu, Diane          Self, Spouse NY        US            Consortium
                                                              Personal
268 Ingram, Dorian       Self        SC         US            Injury
    Ingrassia, Peter                                          Personal
    and Bagder-                                               Injury, Loss of
269 Ingrassia, Denise    Self, Spouse NY        US            Consortium
                                                              Personal
    Irvin, Michael and                                        Injury, Loss of
270 Smith, Jennifer      Self, Spouse NY        US            Consortium
                                                              Personal
271 Islar, Marcella      Self        NY         US            Injury
                                                              Personal
272 Isom, Anthony        Self        FL         US            Injury
    Iwankow,
    Christopher and                                           Personal
    Iwankow, Jennifer                                         Injury, Loss of
273 J.                   Self, Spouse NY        US            Consortium
    Jackson, Gregory                                          Personal
    and Jackson,                                              Injury, Loss of
274 Tanui                Self, Spouse NY        US            Consortium
    Jackson, June A.                                          Personal
    and Jackson,                                              Injury, Loss of
275 Mark                 Self, Spouse NY        US            Consortium


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                                                             Personal
    Jackson, Lee and                                         Injury, Loss of
276 Jackson, Helene     Self, Spouse NJ        US            Consortium
    Jacobson, LeRoy                                          Personal
    R. and Jacobson,                                         Injury, Loss of
277 Diane M.            Self, Spouse NY        US            Consortium
                                                             Personal
278 Jahns, Sharon       Self        NY         US            Injury
                                                             Personal
    James, Thomas P.                                         Injury, Loss of
279 and James, Karen    Self, Spouse FL        US            Consortium
                                                             Personal
280 Jedell, Bonnie      Self        NY         US            Injury
                                                             Personal
    Jerez, Juan and                                          Injury, Loss of
281 Pena, Glen          Self, Spouse NY        US            Consortium
                                                             Personal
282 Johnson, Michael    Self        FL         US            Injury
                                                             Personal
283 Johnson, Anna       Self        NY         US            Injury
                                                             Personal
284 Johnson, James H. Self         NY          US            Injury
    Johnson, Johnny                                          Personal
    L. and Johnson,                                          Injury, Loss of
285 Maureen           Self, Spouse NY          US            Consortium
                                                             Personal
286 Johnson, Kevin      Self        NY         US            Injury
    Johnson, Leonard                                         Personal
    D. and Murdock-                                          Injury, Loss of
287 Johnson, Loris      Self, Spouse NJ        US            Consortium
                                                             Personal
288 Johnson, Margaret Self         NY          US            Injury
    Johnson, Michael
    A. and Ellison-                                          Personal
    Johnson,                                                 Injury, Loss of
289 Jacquelyn         Self, Spouse SC          US            Consortium
                                                             Personal
290 Johnson, Sheryl     Self        NY         US            Injury
    Johnston, John                                           Personal
    and Johnston,                                            Injury, Loss of
291 Gina                Self, Spouse FL        US            Consortium
                                                             Personal
292 Jones, Bonnie R.    Self        NY         US            Injury
                                                             Personal
    Jones, Michael O.                                        Injury, Loss of
293 and Jones, Joanna   Self, Spouse NJ        US            Consortium


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                                                              Personal
    Jones, Terry A.                                           Injury, Loss of
294 and Jones, Corey     Self, Spouse NY        US            Consortium
    Joseph, Lennard                                           Personal
    and Joseph,                                               Injury, Loss of
295 Claudia              Self, Spouse NY        US            Consortium
                                                              Personal
    Joule, William                                            Injury, Loss of
296 and Joule, Jackie    Self, Spouse NJ        US            Consortium
                                                              Personal
297 Kane, Sharon         Self        NY         US            Injury
                                                              Personal
298 Kavowras, Mona       Self        NY         US            Injury
                                                              Personal
299 Kelly, Robert        Self        NY         US            Injury
    Kendall,                                                  Personal
300 Rosalinde            Self        NY         US            Injury
    Kimble McCloud,                                           Personal
    Tana and                                                  Injury, Loss of
301 McCloud, Aubrey      Self, Spouse NY        US            Consortium
                                                              Personal
302 Kirschner, Phil B.   Self        IL         US            Injury
                                                              Personal
303 Kleppel, Harriet     Self        NY         US            Injury
    Knechtel, Robert                                          Personal
    and Knechtel,                                             Injury, Loss of
304 Evelina              Self, Spouse NJ        US            Consortium
                                                              Personal
305 Knight, Betty        Self        NY         US            Injury
                                                              Personal
    Kodis, Joseph and                                         Injury, Loss of
306 Kodis, Melissa       Self, Spouse NY        US            Consortium
    Kohlmier,                                                 Personal
    Kenneth and                                               Injury, Loss of
307 Kohlmier, Barbara    Self, Spouse NY        US            Consortium
    Kokiadis, Robert                                          Personal
    and Kokiadis,                                             Injury, Loss of
308 Maria                Self, Spouse NJ        US            Consortium
    Konstantinidis,
    Zinos and                                                 Personal
    Lagoudakis,                                               Injury, Loss of
309 Catherine            Self, Spouse NY        US            Consortium
    Kosatka,                                                  Personal
310 Wieslawa             Self        NY         US            Injury
    Kushner, Michael                                          Personal
    and Kushner,                                              Injury, Loss of
311 Theresa              Self, Spouse NY        US            Consortium

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                                                             Personal
    Kyum, Osa and                                            Injury, Loss of
312 Hillsman, Debra    Self, Spouse NJ        US             Consortium
                                                             Personal
    Lagana, Paul and                                         Injury, Loss of
313 Lagana, Carmella   Self, Spouse NY        US             Consortium
    LaRusso,                                                 Personal
314 Nicholas R.        Self        NY         US             Injury
    Lathrop,                                                 Personal
    Christopher and                                          Injury, Loss of
315 Lathrop, Kaloni    Self, Spouse NY        US             Consortium
    Lauber, Gerald                                           Personal
    and Lauber,                                              Injury, Loss of
316 Madeleine          Self, Spouse NY        US             Consortium
    Leckler, Francis                                         Personal
    and Leckler,                                             Injury, Loss of
317 Renee              Self, Spouse NY        US             Consortium
                                                             Personal
318 Leggett, Gregory   Self        NY         US             Injury
    Lennon, Michael                                          Personal
    and Lennon,                                              Injury, Loss of
319 Gwynne             Self, Spouse NY        US             Consortium
                                                             Personal
    Leon, Arthur and                                         Injury, Loss of
320 Leon, Marsha       Self, Spouse FL        US             Consortium
    Leonard, Eric S.                                         Personal
    and Leonard,                                             Injury, Loss of
321 Stephanie          Self, Spouse NY        US             Consortium
                                                             Personal
322 Leonardi, Joseph   Self        NY         US             Injury
    Levenson, Philip                                         Personal
    and Levenson,                                            Injury, Loss of
323 Shanon             Self, Spouse NY        US             Consortium
                                                             Personal
    Lewis, David L.                                          Injury, Loss of
324 and Lewis, Edith   Self, Spouse MD        US             Consortium
                                                             Personal
325 Lewis, Edna         Self         NJ       US             Injury
    Lewis, Elizabeth,
    as administrator of
    the Estate of
    William Lewis,                                           Wrongful
    deceased, and                                            Death,
326 individually        PR/Spouse    NY       US             Solatium
    Lewis, Franklin                                          Personal
    and Telfer-Lewis,                                        Injury, Loss of
327 Annette             Self, Spouse NY       US             Consortium

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                                                                Personal
328 Lewis, Joseph          Self        NY         US            Injury
                                                                Personal
    Lewis, Kevin and                                            Injury, Loss of
329 Lewis, Wilma           Self, Spouse NY        US            Consortium
                                                                Personal
330 Lewis, Rayvon          Self        VA         US            Injury
                                                                Personal
    Lewis, Wilma and                                            Injury, Loss of
331 Lewis, Kevin           Self, Spouse NY        US            Consortium
                                                                Personal
332 Liaci, Elizabeth       Self        NJ         US            Injury
                                                                Personal
    Lian, Eng and                                               Injury, Loss of
333 Lian, May              Self, Spouse NJ        US            Consortium
                                                                Personal
334 Lieber, Sheila R.      Self        NY         US            Injury
    Lienau, Joseph R.                                           Personal
    and Lienau,                                                 Injury, Loss of
335 Margaret               Self, Spouse NY        US            Consortium
                                                                Personal
    Lisi, Richard S.                                            Injury, Loss of
336 and Lisi, Denise       Self, Spouse NJ        US            Consortium
    Livermore,
    Donovan and                                                 Personal
    Haye-Livermore,                                             Injury, Loss of
337 Sidoney                Self, Spouse NY        US            Consortium
                                                                Personal
338 Lobman, Jason          Self        NY         US            Injury
                                                                Personal
       Lopez , Eric and                                         Injury, Loss of
339    Lopez, Nilsa        Self, Spouse NY        US            Consortium
       Lopez, Arnaldo                                           Personal
       and Park-Lopez,                                          Injury, Loss of
340    Cecelia             Self, Spouse NY        US            Consortium
       LoPresti, Richard                                        Personal
       and LoPresti,                                            Injury, Loss of
341    Janice              Self, Spouse NJ        US            Consortium
       LoPresto,                                                Personal
       Anthony and                                              Injury, Loss of
342    LoPresto, Jean      Self, Spouse NY        US            Consortium
                                                                Personal
343 Louis, Joshua          Self        NY         US            Injury
                                                                Personal
344 Luisi, Andrew          Self        NY         US            Injury
    Lukas, Arthur and                                           Personal
345 Lukas, Illia           Self, Spouse NY        US            Injury, Loss of

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                                                                Consortium
                                                                Personal
346 Lynch, Christal         Self        NY         US           Injury
                                                                Personal
347 Mack, Thomas            Self        NY         US           Injury
                                                                Personal
348 Maggio, Jason           Self        NY         US           Injury
    Mahnken,                                                    Personal
349 Carolene                Self        CT         US           Injury
                                                                Personal
350 Maier, John             Self        NY         US           Injury
                                                                Personal
       Maio, Alexander                                          Injury, Loss of
351    and Maio, Jean       Self, Spouse NY        US           Consortium
       Maiurro, William                                         Personal
       and Maiurro,                                             Injury, Loss of
352    Rosalba              Self, Spouse NY        US           Consortium
       Maldonado,
       Minerva and                                              Personal
       Maldonado,                                               Injury, Loss of
353    Adolfo               Self, Spouse NY        US           Consortium
       Mangiapanella,
       Bart and                                                 Personal
       Manigiapanella,                                          Injury, Loss of
354    Joanna               Self, Spouse NC        US           Consortium
       Mania, Richard                                           Personal
       and Mania,                                               Injury, Loss of
355    Maureen              Self, Spouse NJ        US           Consortium
                                                                Personal
       Mann, Charles,                                           Injury, Loss of
356    Sr. and Mann, Ida    Self, Spouse NY        US           Consortium
       Marotta, Carlo A.,                                       Personal
       Jr. and Marotta,                                         Injury, Loss of
357    Cheryl               Self, Spouse GA        US           Consortium
       Marrero, Joseph                                          Personal
       R. and Marrero,                                          Injury, Loss of
358    Maria                Self, Spouse NY        US           Consortium
       Marshall,                                                Personal
       Anthony and                                              Injury, Loss of
359    Marshall, Diana      Self, Spouse GA        US           Consortium
                                                                Personal
360 Marshall, Janice        Self        NY         US           Injury
                                                                Personal
    Martinez, Carlos                                            Injury, Loss of
361 and Soto, Iris          Self, Spouse NY        US           Consortium
                                                                Personal
362 Martinez, Nelson        Self        TN         US           Injury
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       Massingale,                                              Personal
363    Darrell             Self        NY         US            Injury
       McAllister,                                              Personal
364    Phyllis             Self        PA         US            Injury
       McBean, Edward                                           Personal
       and McBean,                                              Injury, Loss of
365    Carol               Self, Spouse NY        US            Consortium
       McCamy,                                                  Personal
366    Katherine           Self        NY         US            Injury
       McCarthy,                                                Personal
       Mathew and                                               Injury, Loss of
367    McCarthy, Laura     Self, Spouse NY        US            Consortium
       McCormack,
       Angela and                                               Personal
       McCormack,                                               Injury, Loss of
368    Frank               Self, Spouse AZ        US            Consortium
       McDermott,
       Thomas and                                               Personal
       McDermott,                                               Injury, Loss of
369    Karen               Self, Spouse NJ        US            Consortium
       McHenry-Bailey,                                          Personal
       Tonia and Bailey,                                        Injury, Loss of
370    Carl                Self, Spouse NY        US            Consortium
       McKenna,                                                 Personal
       Edward P. and                                            Injury, Loss of
371    McKenna, Diane      Self, Spouse NY        US            Consortium
                                                                Personal
372 Mckeon, Joseph         Self        NY         US            Injury
    McLaughlin,
    Laura and                                                   Personal
    McLaughlin,                                                 Injury, Loss of
373 Terence                Self, Spouse NJ        US            Consortium
    McNamara,                                                   Personal
    Timothy and                                                 Injury, Loss of
374 Vecchio, Dianna        Self, Spouse NJ        US            Consortium
    McQuade,
    Anthony and                                                 Personal
    McQuade,                                                    Injury, Loss of
375 Deborah                Self, Spouse NY        US            Consortium
                                                                Personal
376 McWilliams, Eric       Self        NY         US            Injury
                                                                Personal
377 Medici, Philip         Self        NY         US            Injury
    Medina, Jose L.,                                            Personal
    Jr. and Medina,                                             Injury, Loss of
378 Maria                  Self, Spouse NY        US            Consortium
379 Meehan, Susan          Self         NY        US            Personal

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                                                                Injury
                                                                Personal
380 Melore, Joann           Self        NY         US           Injury
    Melvin, Delores                                             Personal
    and Melvin,                                                 Injury, Loss of
381 George, Jr.             Self, Spouse NJ        US           Consortium
    Mendoza, David                                              Personal
382 J.                      Self        NY         US           Injury
    Messina,                                                    Personal
    Alexander and                                               Injury, Loss of
383 Messina, Lori           Self, Spouse NY        US           Consortium
    Meyer, Steven E.                                            Personal
    and Meyer,                                                  Injury, Loss of
384 Genevieve               Self, Spouse NY        US           Consortium
                                                                Personal
385 Miccio, Kathrina        Self        NJ         US           Injury
                                                                Personal
386 Midgett, Arthur         Self        NY         US           Injury
    Milana, Paul and                                            Personal
    Milana,                                                     Injury, Loss of
387 Jacqueline              Self, Spouse NY        US           Consortium
                                                                Personal
       Miller , George                                          Injury, Loss of
388    and Phine, Jose      Self, Spouse NJ        US           Consortium
       Miller, Lucy and                                         Personal
       Miller,                                                  Injury, Loss of
389    Arquimedes           Self, Spouse NY        Costa Rica   Consortium
       Miller, Raulda, as
       administrator of
       the Estate of
       Keevil Miller,                                           Wrongful
       deceased, and                                            Death,
390    individually         PR/Spouse   NY         US           Solatium
       Miller, Robert J.                                        Personal
       and Miller,                                              Injury, Loss of
391    Barbara              Self, Spouse NY        US           Consortium
       Millington, Roy                                          Personal
       and Millington,                                          Injury, Loss of
392    Heather              Self, Spouse NY        US           Consortium
                                                                Personal
393 Moncion, Celeste        Self        NY         US           Injury
    Montagna,
    Vincent and                                                 Personal
    Montagna, Mary                                              Injury, Loss of
394 Ann                     Self, Spouse NY        US           Consortium
                                                                Personal
395 Montalvo, Luz           Self        NY         US           Injury

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    Mooney, Edward                                           Personal
    and Mooney,                                              Injury, Loss of
396 Vickie              Self, Spouse NY        US            Consortium
                                                             Personal
    Morales, Eliseo                                          Injury, Loss of
397 and Morales, Nina   Self, Spouse NY        US            Consortium
    Moran, Anderson                                          Personal
    and Fernandez,                                           Injury, Loss of
398 Riset               Self, Spouse NY        US            Consortium
                                                             Personal
399 Moran, Colleen      Self        NY         US            Injury
    Moran, Darren T.                                         Personal
    and Moran,                                               Injury, Loss of
400 Christine           Self, Spouse NY        US            Consortium
    Moretti, Dominick                                        Personal
    and Moran-                                               Injury, Loss of
401 Moretti, Margaret   Self, Spouse CT        US            Consortium
    Morton, Douglas                                          Personal
    N. and Mildred,                                          Injury, Loss of
402 Miles               Self, Spouse NY        US            Consortium
                                                             Personal
    Moss, John L. and                                        Injury, Loss of
403 Moss, Sheryl        Self, Spouse NY        US            Consortium
                                                             Personal
    Moyse, Josette                                           Injury, Loss of
404 and Moyse, Eden     Self, Spouse FL        US            Consortium
                                                             Personal
405 Mozes, Steve, II    Self        FL         US            Injury
    Mraz, Michael                                            Personal
    and Mraz,                                                Injury, Loss of
406 Claudette           Self, Spouse FL        US            Consortium
    Muentes, Pablo                                           Personal
    and Muentes,                                             Injury, Loss of
407 Mercedes            Self, Spouse NY        US            Consortium
    Mun-Hong, Lisa                                           Personal
    and Hong,                                                Injury, Loss of
408 Michael             Self, Spouse NJ        US            Consortium
    Murray, Mary L.                                          Personal
    and Murray,                                              Injury, Loss of
409 Thomas              Self, Spouse NY        US            Consortium
    Murray, Noah K.
    and Murray,                                              Personal
410 Rosena              Self, Spouse NJ        US            Injury
                                                             Personal
411 Murtha, Raymond     Self        NJ         US            Injury
    Nagle, Ronald and                                        Personal
412 Nagle, Claire     Self, Spouse NY          US            Injury, Loss of

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                                                             Consortium

                                                             Personal
413 Naimo, Dorothy       Self        NJ         US           Injury
    Naranjo, Maria                                           Personal
414 Claudia              Self        NY         US           Injury
    Nebbari,                                                 Personal
415 Abdeljalil           Self        NY         US           Injury
                                                             Personal
416 Newman, Susan        Self        NY         US           Injury
                                                             Personal
417 Nigro, Robert        Self        NY         US           Injury
    Noonan, Arthur                                           Personal
    and Noonan,                                              Injury, Loss of
418 Denise Marie         Self, Spouse IL        US           Consortium
    Norcross, Robert,                                        Personal
    Sr. and Norcross,                                        Injury, Loss of
419 Deirdre              Self, Spouse NY        US           Consortium
                                                             Personal
420 O'Brien, Dawn        Self        NY         US           Injury
    O'Brien,                                                 Personal
    Geraldine and                                            Injury, Loss of
421 O'Brien, Thomas      Self, Spouse FL        US           Consortium
    O'Brien, Robert                                          Personal
422 W.                   Self        NY         US           Injury
                                                             Personal
423 Ocasio, Jeremias     Self        NJ         US           Injury
    O'Connor, Dennis                                         Personal
    P. and O'Conner,                                         Injury, Loss of
424 Dolores              Self, Spouse GA        US           Consortium
    O'Connor, James                                          Personal
    and O'Connor,                                            Injury, Loss of
425 Patricia             Self, Spouse NY        US           Consortium
    O'Leary , Joseph                                         Personal
    and O'Leary,                                             Injury, Loss of
426 Sarah                Self, Spouse NY        US           Consortium
                                                             Personal
427 O'Leary, George      Self        NY         US           Injury
                                                             Personal
428 Oliver, Emma         Self        NY         US           Injury
                                                             Personal
    Onesti, Ernest and                                       Injury, Loss of
429 Onesti, Gina         Self, Spouse NJ        US           Consortium
    Ortenzio, Charles                                        Personal
    and Ortenzio, Luz                                        Injury, Loss of
430 Maria                Self, Spouse NJ        US           Consortium
431 Ortiz, Edgardo       Self         NY        US           Personal
                                           51
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                                                                Injury
                                                                Personal
       Ortiz, Victor and                                        Injury, Loss of
432    Ortiz, Olga         Self, Spouse NY        US            Consortium
       Osborne-Ellis,                                           Personal
       Glorya and Ellis,                                        Injury, Loss of
433    Arthur              Self, Spouse FL        US            Consortium
       O'Shea, Michael                                          Personal
       and O'Shea,                                              Injury, Loss of
434    Virginia            Self, Spouse NY        US            Consortium
       Owczarczak,                                              Personal
435    Paula               Self        NY         US            Injury
                                                                Personal
    Padilla, Richard                                            Injury, Loss of
436 and Cruz, Vivian       Self, Spouse NY        US            Consortium
                                                                Personal
437 Page, Gwanancii        Self        NY         US            Injury
                                                                Personal
438 Parker, Carmelita      Self        FL         US            Injury
                                                                Personal
439 Parker, Elizabeth      Self        NY         US            Injury
                                                                Personal
    Patti, Dennis and                                           Injury, Loss of
440 Patti, Christine       Self, Spouse NY        US            Consortium
                                                                Personal
441 Paulino, Violeta       Self        NY         US            Injury
    Pepitone, Natal                                             Personal
    and Pepitone,                                               Injury, Loss of
442 Carole                 Self, Spouse NY        US            Consortium
    Perdue, Devrin L.,                                          Personal
    Sr. and Perdue,                                             Injury, Loss of
443 Kaye                   Self, Spouse NY        US            Consortium
                                                                Personal
    Perez, Esther and                                           Injury, Loss of
444 Mendez, Michael        Self, Spouse NY        US            Consortium
                                                                Personal
445 Perrette, Marie A.     Self        NJ         US            Injury
                                                                Personal
446 Perry, Lincoln         Self        NJ         US            Injury
                                                                Personal
    Petersen, Guy and                                           Injury, Loss of
447 Petersen, Noreen       Self, Spouse NY        US            Consortium
    Piazza, Adolfo                                              Personal
    and Betancourt,                                             Injury, Loss of
448 Olga                   Self, Spouse NY        US            Consortium
    Piazza, John and                                            Personal
449 Piazza, Mariel         Self, Spouse NY        US            Injury, Loss of
                                             52
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                                                             Consortium

    Piazza,                                                  Personal
450 Marguerite          Self        NY         US            Injury
                                                             Personal
    Pinzon, Wilfredo                                         Injury, Loss of
451 and Pinzon, Ada     Self, Spouse NJ        US            Consortium
                                                             Personal
    Pitre, Denise and                                        Injury, Loss of
452 Pitre, Louis        Self, Spouse NY        US            Consortium
    Pitters, Derrick                                         Personal
    and Pitters,                                             Injury, Loss of
453 Audrey              Self, Spouse NY        US            Consortium
                                                             Personal
    Ponce, Yvonne                                            Injury, Loss of
454 and Soto, Gabriel   Self, Spouse NY        US            Consortium
                                                             Personal
455 Powell, Carla       Self        NJ         US            Injury
    Priester-Bell,                                           Personal
    Evette and Bell,                                         Injury, Loss of
456 Marvin              Self, Spouse NY        US            Consortium
                                                             Personal
457 Pringle, Diana      Self        NY         US            Injury
    Purzner, Leonard                                         Personal
    and Purzner,                                             Injury, Loss of
458 Lesliee Anne        Self, Spouse NY        US            Consortium
                                                             Personal
459 Push, Michael       Self        NY         US            Injury
                                                             Personal
460 Quatela , Marie     Self        NY         US            Injury
                                                             Personal
461 Quesada, Maria      Self        NY         Colombia      Injury
    Racioppi, Richard                                        Personal
    and Racioppi,                                            Injury, Loss of
462 Maureen             Self, Spouse NY        US            Consortium
    Rahilly-Lobaton,                                         Personal
    Terry-Ann and                                            Injury, Loss of
463 Lobaton, German     Self, Spouse NY        US            Consortium
                                                             Personal
464 Raiford, Veronica   Self        NY         US            Injury
    Rambharose,                                              Personal
465 Vanessa             Self        NY         US            Injury
    Ramos, Anthony                                           Personal
    and Ramos,                                               Injury, Loss of
466 Virgen              Self, Spouse NY        US            Consortium
    Rauchfuss, John                                          Personal
467 and Rauchfuss,      Self, Spouse NY        US            Injury, Loss of
                                          53
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     Danielle                                                Consortium

    Ravenell, Calvin                                         Personal
    and Ravenell,                                            Injury, Loss of
468 Jacqueline           Self, Spouse NY        US           Consortium
                                                             Personal
    Reece, Phillip and                                       Injury, Loss of
469 Harris, Andrea       Self, Spouse FL        US           Consortium
    Regan, Thomas                                            Personal
    and Regan,                                               Injury, Loss of
470 Patricia             Self, Spouse NY        US           Consortium
    Reimer, Richard                                          Personal
    and Reimer,                                              Injury, Loss of
471 Marsha               Self, Spouse NJ        US           Consortium
                                                             Personal
472 Rhymer, Dorian       Self        GA         US           Injury
                                                             Personal
    Ribar, Brian and                                         Injury, Loss of
473 Ribar, Kara          Self, Spouse NY        US           Consortium
    Richardson,                                              Personal
474 Louise               Self        SC         US           Injury
                                                             Personal
    Riley, Dennis and                                        Injury, Loss of
475 Riley, Ann           Self, Spouse NY        US           Consortium
                                                             Personal
476 Ring, Thomas         Self        ME         US           Injury
                                                             Personal
477 Rivera , James       Self        NY         US           Injury
    Rivera, Floripe H.                                       Personal
    and Rivera,                                              Injury, Loss of
478 Magdalina            Self, Spouse NY        US           Consortium
    Rivera, Luis F.                                          Personal
    and Sanchez,                                             Injury, Loss of
479 Laura                Self, Spouse FL        US           Consortium
                                                             Personal
480 Rivera, Maria        Self        NY         US           Injury
                                                             Personal
481 Roberts, Carlton     Self        NY         US           Injury
    Robinson , Sharon                                        Personal
    and Robinson,                                            Injury, Loss of
482 George               Self, Spouse NY        US           Consortium
                                                             Personal
483 Robinson, Clifton    Self        NY         US           Injury
                                                             Personal
484 Robinson, Ronald     Self        NY         US           Injury
    Rodriguez,                                               Personal
485 Dilgilio             Self        NJ         US           Injury
                                           54
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                                                             Personal
486 Rodriguez, Joseph    Self        FL         US           Injury
    Rodriguez, Raul                                          Personal
    and Rodriguez,                                           Injury, Loss of
487 Junko                Self, Spouse NY        US           Consortium
    Rongo, Cheryl                                            Personal
    and Rongo,                                               Injury, Loss of
488 Robert               Self, Spouse NJ        US           Consortium
    Rosario, David                                           Personal
    and Rosario,                                             Injury, Loss of
489 Linda                Self, Spouse NY        US           Consortium
                                                             Personal
490 Ross, John           Self        NY         US           Injury
                                                             Personal
    Rue, Jerry and                                           Injury, Loss of
491 Rue, Helen           Self, Spouse NC        US           Consortium
    Ruskowski,                                               Personal
492 Kenneth M.           Self        NJ         US           Injury
                                                             Personal
493 Rutledge, Jerome     Self        NY         US           Injury
                                                             Personal
494 Ryan, Betzaida       Self        NY         US           Injury
                                                             Personal
495 Saa, Jorge V.        Self        NY         US           Injury
    Salerno, Anthony                                         Personal
    and Simons-                                              Injury, Loss of
496 Salerno, Jill        Self, Spouse NC        US           Consortium
                                                             Personal
497 Saltes, Philip       Self        NY         US           Injury
    Salvatori,
    Stephanie and                                            Personal
    Salvatori,                                               Injury, Loss of
498 Stephanie            Self, Spouse FL        US           Consortium
                                                             Personal
499 Samaroo, Frank       Self        NY         US           Injury
    Sanchez, Pedro                                           Personal
    and Baez-                                                Injury, Loss of
500 Sanchez, Virgina     Self, Spouse NY        US           Consortium
    Sanders,                                                 Personal
    Lawrence and                                             Injury, Loss of
501 Sanders, Ivy         Self, Spouse DE        US           Consortium
                                                             Personal
    Sandurs, Harvey                                          Injury, Loss of
502 and Sandurs, Gail    Self, Spouse NY        US           Consortium
                                                             Personal
503 Santello, Migdalia   Self        NY         US           Injury
504 Santiago, Rafael     Self        PA         US           Personal
                                           55
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                                                             Injury
                                                             Personal
505 Sarduy, Yadira       Self        NY         US           Injury
                                                             Personal
506 Savage, Candice      Self        NY         US           Injury
    Scaccia, Frank                                           Personal
    and Scaccia, Lisa                                        Injury, Loss of
507 Maria                Self, Spouse NY        US           Consortium
    Scalamandre,
    Joseph and                                               Personal
    Scalamandre,                                             Injury, Loss of
508 Rosa                 Self, Spouse NY        US           Consortium
    Schiano, Anthony                                         Personal
    and Schiano,                                             Injury, Loss of
509 Debra Lynn           Self, Spouse NY        US           Consortium
                                                             Personal
510 Schick, David        Self        NY         US           Injury
                                                             Personal
    Schmitt, John and                                        Injury, Loss of
511 Schmitt, Roberta     Self, Spouse NY        US           Consortium
                                                             Personal
    Schultz, Gary and                                        Injury, Loss of
512 Schultz, Patricia    Self, Spouse NY        US           Consortium
                                                             Personal
    Seiden, Tony and                                         Injury, Loss of
513 Seiden, Robyn        Self, Spouse FL        US           Consortium
    Senese, Salvatore,                                       Personal
    Jr. and Senese,                                          Injury, Loss of
514 Kathy                Self, Spouse NY        US           Consortium
    Serrano, Luis and                                        Personal
    Sproul-Serrano,                                          Injury, Loss of
515 Karen                Self, Spouse MD        US           Consortium
                                                             Personal
    Servider, Phil and                                       Injury, Loss of
516 Servider, Danielle   Self, Spouse NY        US           Consortium
                                                             Personal
    Shakes, Lavern                                           Injury, Loss of
517 and Shakes, Brian    Self, Spouse NY        US           Consortium
    Shalley, Thomas                                          Personal
    and Shalley,                                             Injury, Loss of
518 Hortensia            Self, Spouse NY        US           Consortium
    Sharawi,                                                 Personal
    Mohamed and                                              Injury, Loss of
519 Sharawi, Linda       Self, Spouse NY        US           Consortium
                                                             Personal
    Shavis, Allen and                                        Injury, Loss of
520 Shavis, Deborah      Self, Spouse NY        US           Consortium

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                                                             Personal
    Shavis, James and                                        Injury, Loss of
521 Shavis, Sandra      Self, Spouse NY        US            Consortium
                                                             Personal
522 Shiloh, Cynthia     Self        NY         US            Injury
                                                             Personal
    Shoaf, William                                           Injury, Loss of
523 and Shoaf, Dana     Self, Spouse IN        US            Consortium
    Shorte, Edward                                           Personal
    and Shorte,                                              Injury, Loss of
524 Charlotte           Self, Spouse NY        US            Consortium
    Shravah, Deepa                                           Personal
    and Shravah,                                             Injury, Loss of
525 Aasheesh            Self, Spouse NY        US            Consortium
    Shung-Chin, Pak                                          Personal
    and Nyong-                                               Injury, Loss of
526 Chong, Ng           Self, Spouse NY        US            Consortium
                                                             Personal
527 Shyllon, Aminata    Self        NY         US            Injury
    Sigler, Mark A.                                          Personal
    and Singler,                                             Injury, Loss of
528 Geraddine Ann       Self, Spouse NY        US            Consortium
                                                             Personal
    Silva, Tamyka                                            Injury, Loss of
529 and Silva, Henry    Self, Spouse FL        US            Consortium
    Silver, Ronald F.                                        Personal
    and Silver,                                              Injury, Loss of
530 Rosalie             Self, Spouse FL        US            Consortium
    Simmons,                                                 Personal
531 Constance           Self        NY         US            Injury
                                                             Personal
532 Singer, Chris       Self        NY         US            Injury
    Sirotnikov, Oleg                                         Personal
    and Sirotnikov,                                          Injury, Loss of
533 Joanna              Self, Spouse NY        US            Consortium
                                                             Personal
534 Smith, Anthony      Self        NJ         US            Injury
                                                             Personal
    Smith, Aston and                                         Injury, Loss of
535 Smith, Deborah      Self, Spouse NY        US            Consortium
                                                             Personal
536 Smith, Elizabeth    Self        NY         US            Injury
                                                             Personal
    Smith, Joyce and                                         Injury, Loss of
537 Smith, Gary         Self, Spouse NY        US            Consortium
                                                             Personal
538 Smith, Overta       Self        NY         US            Injury

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                                                                Personal
539 Soto, Caroline           Self        NY         US          Injury
                                                                Personal
540 Soto, Francisco          Self        NY         US          Injury
    Spaeth, Frederick                                           Personal
    and Spaeth,                                                 Injury, Loss of
541 Marcia                   Self, Spouse NJ        US          Consortium
                                                                Personal
       Spiteri, Saviour S.                                      Injury, Loss of
542    and Spiteri, Peggy    Self, Spouse NY        US          Consortium
       Stanco, Michael                                          Personal
       and Stanco,                                              Injury, Loss of
543    Barbara               Self, Spouse NY        US          Consortium
       Stankaitis,                                              Personal
544    Zachary               Self        NY         US          Injury
       Steffenella, David                                       Personal
       and Steffenella,                                         Injury, Loss of
545    Kristine              Self, Spouse NY        US          Consortium
       Steininger, Robert                                       Personal
       and Steininger,                                          Injury, Loss of
546    Donna                 Self, Spouse FL        US          Consortium
                                                                Personal
547 Stephens, Annie          Self        NY         US          Injury
                                                                Personal
548 Stevens, Elaine          Self        NY         US          Injury
                                                                Personal
549 Stewart, Robert          Self        NY         US          Injury
    Stoltzenberg,
    Denise and                                                  Personal
    Stoltzenberg,                                               Injury, Loss of
550 Edward                   Self, Spouse NY        US          Consortium
    Striffolino,                                                Personal
    Anthony and                                                 Injury, Loss of
551 Striffolino, Joanne      Self, Spouse NJ        US          Consortium
    Strohschein,
    Robert and                                                  Personal
    Strohschein,                                                Injury, Loss of
552 Kimberly                 Self, Spouse NJ        US          Consortium
    Strusman, Moshe                                             Personal
    and Strusman,                                               Injury, Loss of
553 Beatrice                 Self, Spouse NY        US          Consortium
                                                                Personal
554 Sullivan, Edgar          Self        PA         US          Injury
    Sullivan, Charles                                           Personal
    and Sullivan,                                               Injury, Loss of
555 Maryellen                Self, Spouse NJ        US          Consortium
556 Sullivan, John           Self         NJ        US          Personal
                                               58
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                                                              Injury
    Sullivan, Timothy                                         Personal
    and Sullivan,                                             Injury, Loss of
557 Jessie               Self, Spouse MA        US            Consortium
                                                              Personal
558 Surace, Patrick T.   Self        NY         US            Injury
                                                              Personal
    Surillo, Evelyn                                           Injury, Loss of
559 and Surillo, Jason   Self, Spouse NY        US            Consortium
                                                              Personal
560 Sutton, Anthony      Self        NJ         US            Injury
                                                              Personal
561 Swann, Roseanne      Self        NY         US            Injury
    Swiderski,                                                Personal
562 Maritza              Self        NJ         US            Injury
    Talcovitz, Steven                                         Personal
    and Talcovitz,                                            Injury, Loss of
563 Martha               Self, Spouse FL        US            Consortium
    Tapoler, Adam                                             Personal
    and Tapoler,                                              Injury, Loss of
564 Dawn                 Self, Spouse NY        US            Consortium
                                                              Personal
565 Taybel, Yury         Self        NY         US            Injury
                                                              Personal
566 Taylor, Tyrone       Self        NY         US            Injury
    Thomas, Angella                                           Personal
    and Thomas,                                               Injury, Loss of
567 Arnold               Self, Spouse VA        US            Consortium
                                                              Personal
568 Thomas, Barbara      Self        NJ         US            Injury
                                                              Personal
569 Thomas, Granville Self           NY         US            Injury
                                                              Personal
    Thomas, John and                                          Injury, Loss of
570 Palambo, Sara        Self, Spouse NY        US            Consortium
    Thomas, Steven                                            Personal
571 D.                   Self        NY         US            Injury
    Thompson, Sally                                           Personal
    and Thompson,                                             Injury, Loss of
572 Kenneth              Self, Spouse NY        US            Consortium
                                                              Personal
573 Thompson, Joseph Self          NY           US            Injury
    Thompson,                                                 Personal
574 Cynthia           Self         NY           US            Injury
    Thorne, Neville                                           Personal
    and Thorne, Pearl                                         Injury, Loss of
575 Cynthia           Self, Spouse NY           US            Consortium
                                           59
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    Tomsen, Philip                                           Personal
    and Tomsen,                                              Injury, Loss of
576 Dorothy              Self, Spouse NY        US           Consortium
                                                             Personal
    Torchio, Peter and                                       Injury, Loss of
577 Torchio, Janice      Self, Spouse PA        US           Consortium
                                                             Personal
578 Torres, Hector       Self        NY         US           Injury
                                                             Personal
579 Tousius, Anthony     Self        NY         US           Injury
                                                             Personal
    Tsai, Michael and                                        Injury, Loss of
580 Tsai, Min Feng       Self, Spouse NY        US           Consortium
                                                             Personal
    Tsai, Min Feng,                                          Injury, Loss of
581 and Tsai, Michael    Self, Spouse NY        US           Consortium
                                                             Personal
582 Tyson, Charmaine     Self        NC         US           Injury
    Umland, Richard                                          Personal
    and Wetzler, Jill                                        Injury, Loss of
583 E.                   Self, Spouse NY        US           Consortium
                                                             Personal
    Urban, Thomas J.                                         Injury, Loss of
584 and Urban, Joanne Self, Spouse NY           US           Consortium
                                                             Personal
585 Valdata, Alfred A. Self          NY         US           Injury
                                                             Personal
    Vannata, John and                                        Injury, Loss of
586 Vannata, Hilda       Self, Spouse NY        US           Consortium
                                                             Personal
    Vano, Raffaele                                           Injury, Loss of
587 and Vano, Maria      Self, Spouse NY        US           Consortium
                                                             Personal
588 Vargas, Jorge        Self        NY         US           Injury
                                                             Personal
589 Varley, Michael      Self        NY         US           Injury
    Varma, Balraj, as
    administrator of
    the Estate of
    Sunita Varma,                                            Wrongful
    deceased, and                                            Death,
590 individually         PR/Spouse   NY         US           Solatium
                                                             Personal
591 Velazquez, Lillian   Self        NY         US           Injury
    Velazquez,                                               Personal
    Antonio and                                              Injury, Loss of
592 Velazquez, Dora      Self, Spouse NY        US           Consortium

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    Vergona, Richard                                         Personal
    and Vergona,                                             Injury, Loss of
593 Michelle            Self, Spouse NJ        US            Consortium
                                                             Personal
594 Vese, Samuel        Self        NY         US            Injury
    Vienne, Kevin                                            Personal
    and Southwood,                                           Injury, Loss of
595 Christine           Self, Spouse NY        US            Consortium
    Villamizar,                                              Personal
596 Martha              Self        NY         US            Injury
                                                             Personal
597 Villarin, Gladys    Self        NY         US            Injury
    Vislocky, Charles                                        Personal
    and Vislocky,                                            Injury, Loss of
598 Maryanne            Self, Spouse NY        US            Consortium
                                                             Personal
599 Voluz, Thomas       Self        NJ         US            Injury
    Vonpodlesski,
    Andrew and                                               Personal
    Vonpodlesski,                                            Injury, Loss of
600 Andrew              Self, Spouse NY        US            Consortium
    Waite, Monique                                           Personal
    and Waite,                                               Injury, Loss of
601 Ricardo             Self, Spouse NJ        US            Consortium
    Waldron, John                                            Personal
    and Waldron,                                             Injury, Loss of
602 Katherine           Self, Spouse NY        US            Consortium
    Walker, Thomas                                           Personal
    F. and Cipolla,                                          Injury, Loss of
603 Saundia             Self, Spouse SC        US            Consortium
                                                             Personal
    Walker, David                                            Injury, Loss of
604 and Walker, Holly Self, Spouse CA          US            Consortium
                                                             Personal
    Wall, Gary J. and                                        Injury, Loss of
605 Wall, Margaret      Self, Spouse NY        US            Consortium
                                                             Personal
    Wall, Richard and                                        Injury, Loss of
606 Wall, Denise Ann    Self, Spouse NJ        US            Consortium
                                                             Personal
607 Walrond, Sandra     Self        NY         US            Injury
                                                             Personal
608 Walsh, Helen        Self        NY         US            Injury
                                                             Personal
    Walter, Guy and                                          Injury, Loss of
609 Walter, Margot      Self, Spouse NY        US            Consortium


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    Walton, Curtis                                           Personal
    and Walton,                                              Injury, Loss of
610 Barbara              Self, Spouse NY        US           Consortium
    Washington,
    Alphonse and                                             Personal
    Washington,                                              Injury, Loss of
611 Barbara              Self, Spouse NY        US           Consortium
                                                             Personal
612 Washington, Mary Self         NY            US           Injury
    Waterson, Brian                                          Personal
    and Waterson,                                            Injury, Loss of
613 Dawn             Self, Spouse NY            US           Consortium
                                                             Personal
614 Watson, Raoul        Self        NY         US           Injury
    Weinberg, David                                          Personal
    S. and Weinberg,                                         Injury, Loss of
615 Stephanie            Self, Spouse NJ        US           Consortium
                                                             Personal
    Weiner, Brett and                                        Injury, Loss of
616 Weiner, Tracy        Self, Spouse NY        US           Consortium
                                                             Personal
617 Weiss, Allen         Self        NY         US           Injury
    Welsh, Lavonne,
    as executor of the
    Estate of Willie                                         Wrongful
    Mosley, deceased,                                        Death,
618 and individually     PR          NY         US           Solatium
    Wheeler, Thomas                                          Personal
    and Wheeler,                                             Injury, Loss of
619 Ruth                 Self, Spouse NY        US           Consortium
    Whitcomb,
    Timothy S. and                                           Personal
    Whitcomb,                                                Injury, Loss of
620 Michelle             Self, Spouse NY        US           Consortium
                                                             Personal
621 White, Anthony       Self        NY         US           Injury
                                                             Personal
    White, James and                                         Injury, Loss of
622 White, Niccole       Self, Spouse PA        US           Consortium
    White, Virginia                                          Personal
    and Gilliard,                                            Injury, Loss of
623 Michael              Self, Spouse NY        US           Consortium
                                                             Personal
624 Wickham, Preston     Self        NY         US           Injury
                                                             Personal
625 Willacy, Sophia      Self        NY         US           Injury


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                                                              Personal
    Willis, Joyce and                                         Injury, Loss of
626 Wallis, Keith        Self, Spouse NJ        US            Consortium
                                                              Personal
    Wilson, Richard                                           Injury, Loss of
627 and Wilson, Tina     Self, Spouse NY        US            Consortium
    Wilson, Willie                                            Personal
    and Wilson,                                               Injury, Loss of
628 Cherry Lee           Self, Spouse NY        US            Consortium
                                                              Personal
629 Winstead, Cynthia Self           NY         US            Injury
                                                              Personal
    Wood, Scott and                                           Injury, Loss of
630 Wood, Annemarie      Self, Spouse NY        US            Consortium
                                                              Personal
    Worgul, John and                                          Injury, Loss of
631 Worgul, Ann          Self, Spouse NJ        US            Consortium
                                                              Personal
    Wright, Harold                                            Injury, Loss of
632 and Wright, Kathe    Self, Spouse NJ        US            Consortium
                                                              Personal
    York, Maria and                                           Injury, Loss of
633 York, Russell        Self, Spouse NY        US            Consortium
    Young, Jennifer                                           Personal
    and Young, Jon                                            Injury, Loss of
634 Bryan                Self, Spouse AZ        US            Consortium
                                                              Personal
635 Young, Keith         Self        MD         US            Injury
                                                              Personal
    Zabala, Edwin                                             Injury, Loss of
636 and Zabala, Lisa     Self, Spouse NY        US            Consortium
                                                              Personal
    Zayats, Albert and                                        Injury, Loss of
637 Aliev, Natella       Self, Spouse NY        US            Consortium
                                                              Personal
    Zheng, Lee L. and                                         Injury, Loss of
638 Zheng, Fang L.       Self, Spouse NY        US            Consortium
                                                              Personal
    Zilliox, Mark P.                                          Injury, Loss of
639 and Zilliox, Kelly   Self, Spouse NY        US            Consortium
    Zimmerli, Pierre                                          Personal
    and Zimmerli,                                             Injury, Loss of
640 Elizabeth            Self, Spouse NY        US            Consortium
    Zuckerberg, Paul                                          Personal
    and Zuckerberg,                                           Injury, Loss of
641 Ramona               Self, Spouse NY        US            Consortium


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